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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


PARKERVISION, INC.,                                §
            Plaintiff                              §
                                                   §     6-20-CV-00870-ADA
-v-                                                §
                                                   §
HISENSE CO., LTD., HISENSE                         §
VISUAL TECHNOLOGY CO., LTD.                        §
              Defendants                           §
                                                   §
                                                   §
PARKERVISION, INC.,                                §
            Plaintiff                              §     6-20-CV-00945-ADA
                                                   §
-v-                                                §
                                                   §
TCL INDUSTRIES HOLDINGS CO.,                       §
LTD., TCL ELECTRONICS                              §
HOLDINGS LTD., SHENZHEN TCL                        §
NEW TECHNOLOGY CO., LTD., TCL                      §
KING ELECTRICAL APPLIANCES                         §
(HUIZHOU) CO., LTD., TCL MOKA                      §
INT'L LTD., TCL MOKA                               §
MANUFACTURING S.A. DE C.V.                         §
              Defendants                           §
                                                   §


           SPECIAL MASTER’S REPORT AND RECOMMENDATION
                  REGARDING CLAIM CONSTRUCTION

       Before the Court are the Parties’ claim construction briefs: Defendants HiSense Co., Ltd.

and HiSense Visual Technology Co., Ltd. (collectively “HiSense”) and TCL Industries Holdings

Co., Ltd., TCL Electronics Holdings Ltd., Shenzhen TCL New Technology Co., Ltd., TCL King

Electrical Appliances (Huizhou) Co., Ltd., TCL Moka Int’l Ltd., TCL Moka Manufacturing S.A.

De C.V.’s (collectively “TCL”) Opening and Reply briefs (No. 6-20-cv-00870, ECF Nos. 33 and

42, respectively, and No. 6-20-cv-00945, ECF Nos. 33 and 40, respectively) (“Opening” and

“Reply,” respectively) and Plaintiff ParkerVision, Inc. Response and Sur-Reply briefs (No. 6-20-

cv-00870, ECF Nos. 40 and 44, respectively, and No. 6-20-cv-00945, ECF Nos. 38 and 42,

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respectively) (“Response” and “Sur-Reply,” respectively). United States District Judge Alan D

Albright referred these cases to the undersigned on October 25, 2021. No. 6-20-cv-00870, ECF

No. 47 and No. 6-20-cv-00945, ECF No. 45. The undersigned provided preliminary constructions

for the disputed terms the day before the hearing. No. 6-20-cv-00870, ECF No. 46 and No. 6-20-

cv-00945, ECF No. 44. The undersigned held the Markman hearing on October 27, 2021. No. 6-

20-cv-00870, ECF No. 48 and No. 6-20-cv-00945, ECF No. 46. During that hearing, the

undersigned informed the Parties of the final recommended constructions for the disputed terms.

Id. This Report does not alter any of those constructions.



I.         BACKGROUND

           Plaintiff asserts U.S. Patent Nos. 6,049,706, 6,266,518, 6,580,902, 7,110,444, 7,292,835,

8,588,725, 8,660,513, 9,118,528, 9,246,736, and 9,444,673. Plaintiff previously asserted these

patents in the Western District of Texas against Intel in two cases (6-20-cv-00108, 6-20-cv-00562)

and later against LG (6-21-cv-00520). Judge Albright held Markman hearings in the Intel cases

on January 26, 2021 (-00108) and July 22, 2021 (-00562). Judge Albright previously construed

Terms 3, 5–10, and 14-23 below in the prior Intel cases. 6-20-cv-00870, 1 ECF No. 51 at 3–9, 11-

16.

           Judge Gilliland held a Markman hearing in LG case on May 10, 2022. No. 6-20-cv-00520,

ECF No. 51. Judge Gilliland entered a Markman order and memorandum in support of his claim

constructions on June 21, 2022. No. 6:21-cv-00520-ADA, 2022 WL 2240465 (W.D. Tex. June

21, 2022). In that order, Judge Gilliland provided his reasoning for his constructions for two terms

(Term #1: “energy storage element” / “energy storage device”/ “energy storage module”/ “storage



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    For simplicity, all references to the docket entries will be from the -00870 case.

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element”/ “storage module” and Term #2: whether “cable modem” in U.S. Patent No. 7,292,835

Patent, Cl. 1 was limiting) and adopted Judge Albright’s constructions for 28 other terms (Terms

#3 to #30). Id. Term #3 in this case corresponds to Term #1 in Judge Gilliland’s Markman order

and memorandum in support thereof.



II.   DESCRIPTION OF THE ASSERTED PATENTS

       The Asserted Patents describe and claim systems for down-conversion of a modulated

carrier signal. ’518 Patent at Abstract. Down-conversion is the process of recovering the baseband

(audio) signal from the carrier signal after it has been transmitted to and received by the receiver.

This process is referred to as “down-conversion” because a high frequency signal is being down-

converted to a low frequency signal.




The Asserted Patents disclose at least two types of systems for down-conversion: (1) sample-and-

hold (i.e., voltage sampling) and (2) “energy transfer” (also known as “energy sampling”). The

key difference between the two is that the former takes a small “sample” of the input signal while

the latter takes a very large sample, i.e., a large enough sample that a non-negligible amount of

energy is transferred from the input signal. The following sub-sections describes each type of

system, their respective operation, and compares them.

       A. Circuit configuration of down-sampling systems: sample-and-hold and energy
          transfer.




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       Figure 78B depicts an exemplary sample-and-hold system while Figure 82B depicts an

exemplary energy transfer system. ’518 Patent at 63:19–26 (sample-and-hold) and 7:63–64

(energy transfer).




While Figures 78B and 82B depict that the respective circuits have a similar structure, their

respective parameter values (e.g., capacitor and load impedance values)—and concomitantly their

respective operation—are very different. It is important to note that the input signal, input EM

signal, is the same in both figures.

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          The circuits in both figures include a switching module (7806 in Figure 78B and 8206 in

Figure 82B). Id. at 62:65–66 (switching module 7806), 66:13–14 (switching module 8206). The

switching module opens and closes (i.e., turns off and on, respectively) based on under-sampling

signal 7810 in Figure 78B and energy transfer signal 8210 in Figure 82B. Id. at 62:67–63:1 (under-

sampling signal 7810), 66:24–26 (energy transfer signal 8210). When the switching module is

“closed,” input EM signal 7804 and input EM signal 8204 can propagate across the switching

module to holding capacitance 7808 and storage capacitance 8208, respectively, but when the

switching module is “open,” input EM signals 7804/8204 cannot propagate across the switching

module. While both switching module 7806 and switching module 8206 open and close, the

duration that each module is closed differs significantly. The specifications of the Asserted Patents

describe that under-sampling signal 7810 “includes a train of pulses having negligible apertures

that tend towards zero time in duration.” Id. at 63:1–3. The specification discloses an embodiment

of the “negligible pulse width” as being “in the range of 1–10 p[ico]sec[onds] (“ps”) for under-

sampling a 900 MHz signal.” Id. at 63:3–5. By contrast, the specifications describe that energy

transfer signal 8210 “includes a train of energy transfer pulses having non-negligible pulse widths

that tend away from zero time in duration.” Id. at 66:26–28 (emphasis added). The specification

discloses an embodiment where the “non-negligible pulse” is approximately 550 ps for a 900 MHz

signal.

          The specifications describe that holding capacitance 7808 and storage capacitance 8208

are capacitors that charge when switching module 7804 and switching module 8204, respectively,

are closed. Id. at 63:10–13 (holding capacitance 7808), 66:38–42 (storage capacitance 8208). The

specifications also disclose that holding capacitance 7808 “preferably has a small capacitance

value” and disclose an embodiment wherein holding capacitance 7808 has a value of 1 picoFarad



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(“pF”). Id. at 63:9–15. By contrast, the specifications disclose that storage capacitance 8208

“preferably has the capacity to handle the power being transferred” and disclose an embodiment

wherein storage capacitance 8208 has a value “in the range of 18 pF.” Id. at 66:38–49.

       The specifications describe that holding capacitance 7808 and storage capacitance 8208

discharge through load 7812 and load 8212 when switching module 7804 and switching module

8204, respectively, are open. See id. at 63:19–26 (load 7812), 66:61–65 (load 8212). Figure 78B

depicts that “high impedance” load 7818 has an impedance of approximately 1 MΩ while Figure

82B depicts that “low impedance” load 8218 has an impedance of approximately 2 kΩ. The

specifications describe that “[a] high impedance load is one that is relatively insignificant to an

output drive impedance of the system for a given output frequency. A low impedance load is one

that is relatively significant.” Id. at 66:58–61.

       B. Operation of down-converting systems

       At a very high level, both systems operate similarly. In particular, when the switching

module (switching modules 7806 / 8206) is closed, the input signal (input EM signal 7804 / 8204)

propagates to the capacitor (holding capacitance 7808 and storage capacitance 8208) and charge

the voltage across the capacitor to the voltage of input signal. But when the switching module is

open, the input signal cannot propagate to the capacitor, i.e., cannot charge the voltage across the

capacitor to the voltage of input signal. Rather, the charge on the capacitor discharges through the

load impedance (load 7818 / 8218).

       While both systems operate similarly at a high level, differences in (1) the width of the

sampling aperture, (2) value of the capacitor, and (3) value of the load are what dictates whether

the system operates as a sample-and-hold system or an energy transfer system.




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                1. Operation of sample-and-hold system

       In a sample-and-hold system, the sampling aperture in under-sampling signal 7810 is

negligible which means only a small amount of charge from input EM signal 7804 propagates to

the holding capacitance 7808 before switching module 7806 opens. Id. at 62:63–63:8. Because

the sampling aperture has a negligible (i.e., very small) width, there is only enough time take a

“sample” of input EM signal 7804, i.e., only a small amount of charge is transferred to holding

capacitor 7808. Given that only a small amount of charge is transferred to the capacitor, the value

of holding capacitor 7808 needs to be relatively low in order for the voltage across holding

capacitance 7808 change to the voltage of input EM signal 7804.               More specifically, the

relationship between charge (Q) and voltage (V) across a capacitor (with a capacitance of C) is

                𝑄
𝑄 = 𝐶 ∗ 𝑉, or       𝐶 = 𝑉. As such, if the capacitance C is large, more charge Q is needed in order

to increase the voltage to V. For example, for the same amount of charge, if the capacitance is 2C

in one case and C in other case, the voltage in the former case will be half the voltage of the voltage

in the latter case. Id. at 65:29–35. Therefore, to ensure that the value of holding capacitance 7808

does not limit the voltage across the capacitor, the value of holding capacitance 7808 needs to be,

as described above, low. Id. at 63:9–15.

       When sampling module 7806 is open, the charge on holding capacitance 7808 discharges

through load impedance 7818. See id. at 63:19–26. When the value of load impedance 7818 is

high, the charge on holding capacitance 7808 discharges very slowly as compared to when the

load impedance is low. More specifically, the time to discharge a capacitor is related to 𝑅 ∗ 𝐶

(also known as the time constant τ) where R is the value of the load impedance. Using the

exemplary values depicted in Figures 78B (1 MΩ) and 82B (2 kΩ), assuming that the capacitance

is the same, it will take 500 times longer to discharge the capacitor with the 1 MΩ load impedance


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as compared to the circuit with the 2 kΩ load impedance. Because it takes significantly longer to

discharge the capacitor using a 1 MΩ load impedance (as compared to the 2 kΩ load impedance),

the 1 MΩ load impedance in “holds” the charge.

        To summarize, in a sample-and-hold down-sampling system, a negligible sampling

aperture for switching module 7806 and a small value for holding capacitance 7808 only allows

for a “sample” of the voltage of the input EM signal 7804 when switching module 7806 is closed.

And because of the high value of load impedance 7818, the capacitor “holds” that value when

switching module 7806 is open.

                2. Operation of energy transfer system

        As described above, in an energy transfer system, the sampling aperture is non-negligible

(e.g., 550 ps versus 1 ps for the sample-and-hold system for a 900 MHz input signal). Therefore,

there is significantly more time to transfer charge from the input signal to storage capacitance

8208. Id. at 66:42–44. Because significantly more charge is transferred to the capacitor, the value

of storage capacitance 8208 can be larger, in spite of the fact that charge and voltage are inversely

                     𝑄
related (i.e., 𝑉 =       𝐶 ). The fact that this system transfers a large amount of charge—or energy—

to the capacitor gives rise to the name “energy transfer” system.

        When sampling module 8206 is open, the charge on storage capacitance 8208 discharges

through load impedance 8218. See id. at 66:61–65. Because the load impedance in an energy

transfer system is “low,” e.g., 2 kΩ, the charge on storage capacitance 8208 discharges much faster

than the charge on a capacitor in a sample-and-hold system, e.g., 500 times faster as compared to

using a 1 MΩ load impedance.




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       To summarize, in an energy transfer down-sampling system, a non-negligible sampling

aperture for switching module 8206 and a high value for storage capacitance 8208 allows for a

large amount of charge—or energy—to be transferred from the input signal.

       C. Comparison of sample-and-hold and energy transfer systems

       The following summarizes the key differences between sample-and-hold and energy

transfer systems.

          Parameter                 Sample-and-hold            Energy transfer
          Sampling aperture         Negligible                 Non-negligible
                                    (e.g., 1–10 ps)            (e.g., 550 ps)
          Capacitor                 Holding capacitance        Storage capacitance
                                    (e.g., 1 pF)               (e.g., 18 pF)
          Load impedance            High                       Low
                                    (e.g., ~1 MΩ)              (e.g., ~2 kΩ)


       It is important to emphasize that differences in the set of parameter values determines

whether a system functions as a sample-and-hold system or an energy transfer system. For

example, there is nothing special in the structure of a holding capacitance as compared to the

structure of a storage capacitance.    A circuit designer could, in theory, swap the holding

capacitance in a sample-and-hold system with the storage capacitance in an energy transfer system

and still have a sample-and-hold system by appropriately adjusting the sampling aperture and load

impedance to “match” the larger capacitor value of the holding capacitance.

       It is important to note that changing one parameter without adjusting the other parameters

will prevent each system from operating as intended or will have other problems. For example,

using a non-negligible sampling aperture in a sample-and-hold system is unnecessary as the

holding capacitance can be fully charged (to the voltage of the input signal) with a negligible

aperture, but using a non-negligible sampling aperture may distort or destroy the input EM signal

by transferring too much of its energy to the holding capacitance. Id. at 62:30–39.

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       Even worse, using a high load impedance in an energy transfer system or a low load

impedance in a sample-and-hold system could result in a system with poor performance. See, e.g.,

id. at 65:52–55. More specifically, in the latter situation, the low value of the holding capacitance

combined with a low load impedance means that its corresponding time constant τ is very low,

which means that the holding capacitance may discharge significantly when the switching module

is open. As a result, the down-converted signal “cannot provide optimal voltage reproduction, and

has relatively negligible power available at the output.” Id. at 64:49–51.

       In the former situation, the high value of the storage capacitance combined with a high load

impedance means that its corresponding time constant τ is very high, therefore it will take

considerably more time (as compared to a low load impedance) to discharge the storage

capacitance. This may result in less than optimal voltage reproduction, e.g., when the voltage of

the input EM signal is lower than the voltage across the capacitor. Furthermore, the down-

converted signal could have substantially less power (e.g.: 𝑉       𝑅 ; ~2 mV and 1 MΩ) than the

energy transfer system with a low impedance load (e.g.: 𝑉         𝑅 ; ~2 mV and 2 kΩ) or even the

sample-and-hold system with a high impedance load (e.g.: 𝑉        𝑅; ~5 mV and 1 MΩ). See id. at

67:28–33.



III.   LEGAL STANDARD

       A. General principles

       The general rule is that claim terms are generally given their plain-and-ordinary meaning.

Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005) (en banc); Azure Networks, LLC v.

CSR PLC, 771 F.3d 1336, 1347 (Fed. Cir. 2014), vacated on other grounds, 575 U.S. 959, 959

(2015) (“There is a heavy presumption that claim terms carry their accustomed meaning in the

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relevant community at the relevant time.”) (internal quotation omitted). The plain-and-ordinary

meaning of a term is the “meaning that the term would have to a person of ordinary skill in the art

in question at the time of the invention.” Phillips, 415 F.3d at 1313.

       The “only two exceptions to [the] general rule” that claim terms are construed according

to their plain-and-ordinary meaning are when the patentee (1) acts as his/her own lexicographer or

(2) disavows the full scope of the claim term either in the specification or during prosecution.

Thorner v. Sony Comput. Ent. Am. LLC, 669 F.3d 1362, 1365 (Fed. Cir. 2012). The Federal Circuit

has counseled that “[t]he standards for finding lexicography and disavowal are exacting.” Hill-

Rom Servs., Inc. v. Stryker Corp., 755 F.3d 1367, 1371 (Fed. Cir. 2014). To act as his/her own

lexicographer, the patentee must “clearly set forth a definition of the disputed claim term,” and

“‘clearly express an intent’ to [define] the term.” Thorner, 669 F.3d at 1365.

       “Like the specification, the prosecution history provides evidence of how the PTO and the

inventor understood the patent.” Phillips, 415 F.3d at 1317. “[D]istinguishing the claimed

invention over the prior art, an applicant is indicating what a claim does not cover.” Spectrum Int’l,

Inc. v. Sterilite Corp., 164 F.3d 1372, 1379 (Fed. Cir. 1998). The doctrine of prosecution disclaimer

precludes a patentee from recapturing a specific meaning that was previously disclaimed during

prosecution. Omega Eng’g, Inc. v. Raytek Corp., 334 F.3d 1314, 1323 (Fed. Cir. 2003). “[F]or

prosecution disclaimer to attach, our precedent requires that the alleged disavowing actions or

statements made during prosecution be both clear and unmistakable.” Id. at 1325–26. Accordingly,

when “an applicant’s statements are amenable to multiple reasonable interpretations, they cannot

be deemed clear and unmistakable.” 3M Innovative Props. Co. v. Tredegar Corp., 725 F.3d 1315,

1326 (Fed. Cir. 2013).




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       A construction of “plain-and-ordinary meaning” may be inadequate when a term has more

than one “ordinary” meaning or when reliance on a term’s “ordinary” meaning does not resolve

the parties’ dispute. O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1361

(Fed. Cir. 2008). In that case, the Court must describe what the plain-and-ordinary meaning is.

Id.

       “Although the specification may aid the court in interpreting the meaning of disputed claim

language . . ., particular embodiments and examples appearing in the specification will not

generally be read into the claims.” Constant v. Advanced Micro-Devices, Inc., 848 F.2d 1560, 1571

(Fed. Cir. 1988). “[I]t is improper to read limitations from a preferred embodiment described in

the specification—even if it is the only embodiment—into the claims absent a clear indication in

the intrinsic record that the patentee intended the claims to be so limited.” Liebel-Flarsheim Co.

v. Medrad, Inc., 358 F.3d 898, 913 (Fed. Cir. 2004).

       Although extrinsic evidence can be useful, it is “less significant than the intrinsic record in

determining ‘the legally operative meaning of claim language.’” Phillips, 415 F.3d at 1317

(quoting C.R. Bard, Inc. v. United States Surgical Corp., 388 F.3d 858, 862 (Fed. Cir. 2004)).

Technical dictionaries may be helpful, but they may also provide definitions that are too broad or

not indicative of how the term is used in the patent. Id. at 1318. Expert testimony may also be

helpful, but an expert’s conclusory or unsupported assertions as to the meaning of a term are not.

Id.




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        B. Means-Plus-Function Claiming

        A patent claim may be expressed using functional language. See 35 U.S.C. § 112, ¶ 6.2

Williamson v. Citrix Online, LLC, 792 F.3d 1339, 1347–49 (Fed. Cir. 2015). In particular,

§ 112, ¶ 6 provides that a structure may be claimed as a “means . . . for performing a specified

function” and that an act may be claimed as a “step for performing a specified function.” Masco

Corp. v. United States, 303 F.3d 1316, 1326 (Fed. Cir. 2002).

        The presumption is that terms reciting “means” are subject to § 112, ¶ 6. Williamson, 792

F.3d at 1348. But if the term does not use the word “means,” then it is presumed not to be subject

to § 112, ¶ 6. Id. “That presumption can be overcome, but only if the challenger demonstrates

that the claim term fails to recite sufficiently definite structure or else recites function without

reciting sufficient structure for performing that function.” Samsung Elecs. Am., Inc. v. Prisua

Eng’g Corp., 948 F.3d 1342 (Fed. Cir. 2020) (internal quotations removed) (citing Williamson,

792 F.3d at 1349). “The correct inquiry, when ‘means’ is absent from a limitation, is whether the

limitation, read in light of the remaining claim language, specification, prosecution history, and

relevant extrinsic evidence, has sufficiently definite structure to a person of ordinary skill in the

art.” Apple Inc. v. Motorola, Inc., 757 F.3d 1286, 1298 (Fed. Cir. 2014), overruled on other

grounds by Williamson, 792 F.3d at 1349.

        When § 112, ¶ 6 applies, it limits the scope of the functional term “to only the structure,

materials, or acts described in the specification as corresponding to the claimed function and

equivalents thereof.” Williamson, 792 F.3d at 1347. Construing a means-plus-function limitation

involves multiple steps. “The first step . . . is a determination of the function of the means-plus-


2
 The America Invents Act of 2011 changed the numbering of the relevant subsection from § 112, ¶ 6 to § 112(f).
Because the substance of the subsection did not change, the undersigned will refer to the relevant subsection as
§ 112, ¶ 6 in keeping with the numeration at the time of the patent filing.

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function limitation.” Medtronic, Inc. v. Advanced Cardiovascular Sys., Inc., 248 F.3d 1303, 1311

(Fed. Cir. 2001). “[T]he next step is to determine the corresponding structure disclosed in the

specification and equivalents thereof.” Id.        A “structure disclosed in the specification is

‘corresponding’ structure only if the specification or prosecution history clearly links or associates

that structure to the function recited in the claim.” Id. The focus of the “corresponding structure”

inquiry is not merely whether a structure is capable of performing the recited function, but rather

whether the corresponding structure is “clearly linked or associated with the [recited] function.”

Id. The corresponding structure “must include all structure that actually performs the recited

function.” Default Proof Credit Card Sys. v. Home Depot U.S.A., Inc., 412 F.3d 1291, 1298 (Fed.

Cir. 2005). However, § 112, ¶ 6 does not permit “incorporation of structure from the written

description beyond that necessary to perform the claimed function.” Micro Chem., Inc. v. Great

Plains Chem. Co., 194 F.3d 1250, 1258 (Fed. Cir. 1999).

        C. Indefiniteness

        “[I]ndefiniteness is a question of law and in effect part of claim construction.” ePlus, Inc.

v. Lawson Software, Inc., 700 F.3d 509, 517 (Fed. Cir. 2012). Patent claims must particularly

point out and distinctly claim the subject matter regarded as the invention. 35 U.S.C.

§ 112, ¶ 2§ 112, ¶ 2. A claim, when viewed in light of the intrinsic evidence, must “inform those

skilled in the art about the scope of the invention with reasonable certainty.” Nautilus Inc. v. Biosig

Instruments, Inc., 572 U.S. 898, 910 (2014). If it does not, the claim fails § 112, ¶ 2 and is therefore

invalid as indefinite. Id. at 901. Whether a claim is indefinite is determined from the perspective

of one of ordinary skill in the art as of the time the application was filed. Id. at 911.

        In the context of a claim governed by § 112, ¶ 6, the claim is indefinite if the claim fails to

disclose adequate corresponding structure to perform the claimed functions. Williamson, 792 F.3d



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at 1351–52. The disclosure is inadequate when one of ordinary skill in the art “would be unable to

recognize the structure in the specification and associate it with the corresponding function in the

claim.” Id. at 1352. Computer-implemented means-plus-function claims are indefinite unless the

specification discloses an algorithm to perform the function associated with the limitation. Noah

Sys., Inc. v. Intuit Inc., 675 F.3d 1302, 1319 (Fed. Cir. 2012).

        D. Level of Ordinary Skill in the Art

        It is well established that patents are interpreted from the perspective of one of ordinary

skill in the art. See Phillips, 415 F.3d at 1313 (“[T]he ordinary and customary meaning of a claim

term is the meaning that the term would have to a person of ordinary skill in the art in question at

the time of the invention, i.e., as of the effective filing date of the patent application.”). The Federal

Circuit has advised that the “[f]actors that may be considered in determining the level of skill in

the art include: (1) the educational level of the inventors; (2) the type of problems encountered in

the art; (3) prior art solutions to those problems; (4) the rapidity with which innovations are made;

(5) sophistication of the technology; and (6) education level of active workers in the field.” Env’t

Designs, Ltd. v. Union Oil Co. of Cal., 713 F.2d 693, 696 (Fed. Cir. 1983). “These factors are not

exhaustive but are merely a guide to determining the level of ordinary skill in the art.” Daiichi

Sankyo Co. v. Apotex, Inc., 501 F.3d 1254, 1256 (Fed. Cir. 2007).



IV.     LEGAL ANALYSIS

        A. Level of ordinary skill in the art

              Plaintiff’s Proposal                                Defendants’ Proposal
 (i) a Bachelor of Science degree in electrical       At least an undergraduate degree in electrical
 or computer engineering (or a related                engineering or a related subject and two or
 academic field), and at least two (2)                more years of experience in the fields of
 additional years of experience in the design         communication systems, signal processing
 and development of radio frequency circuits          and/or RF circuit design. Less work

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 and/or systems or (at least five (5) years of     experience may be compensated by a higher
 experience and training in the design and         level of education, such as a master’s degree
 development of radio frequency circuits
 and/or systems)


The Parties’ Positions:

       Defendants’ expert, Dr. Matthew Shoemake, contends that:

       A person having ordinary skill in the relevant art at the time of the purported
       inventions of the Asserted Patents would have been someone with at least an
       undergraduate degree in electrical engineering or a related subject and two or more
       years of experience in the fields of communication systems, signal processing
       and/or RF circuit design. Less work experience may be compensated by a higher
       level of education, such as a master’s degree.

Opening at 2 (citing Opening, Shoemake Decl. at ¶¶ 29–34).

       Plaintiff’s expert, Dr. Michael Steer, contends that:

       [A] POSITA with respect to the ’706, ’736 and ’673 patents would have (i) a
       Bachelor of Science degree in electrical or computer engineering (or a related
       academic field), and at least two (2) additional years of experience in the design
       and development of radio frequency circuits and/or systems, or (ii) at least five (5)
       years of experience and training in the design and development of radio frequency
       circuits and/or systems.

Response, Steer Decl. at ¶ 13.

       Plaintiff’s expert, Dr. Steer, disagrees with Defendants’ expert witness regarding the level

of skill required by a POSITA. More specifically, Dr. Steer contends that “because the claims

being construed relate specifically to RF circuit design . . . that a POSITA must have knowledge

and experience within the relevant field, and in particular with the analysis and design of RF

circuits.” Id. at ¶ 15. Dr. Steer contends that a degree in electrical engineering does not provide

enough specific knowledge of the narrow subset needed by a POSITA for these patents. Id. Based

on that premise, Dr. Steer contends that Defendants’ expert is not a POSITA as his Ph.D. are

directed to coding, which is a separate and distinct area of study from circuits. Id.


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The Undersigned’s Analysis:

        After reviewing the parties’ arguments and considering the applicable law, the undersigned

generally agrees with Plaintiff. In particular, the undersigned agrees that the claims appear to be

directed towards RF circuit design. See, e.g., ’673 Patent, Cl. 5. The undersigned, who has

electrical engineering degrees, also agrees with Plaintiff’s argument that electrical engineering is

a broad field and that having an electrical engineering degree is not specific enough when the

claims relate to RF circuit design.

        The parties do not appear to provide any evidence regarding “(1) the educational level of

the inventors; (2) the type of problems encountered in the art; (3) prior art solutions to those

problems; (4) the rapidity with which innovations are made; (5) sophistication of the technology;

and (6) education level of active workers in the field.” Env’t Designs, 713 F.2d at 696. First,

Plaintiff’s proposed level of skill allows for a POSITA to have a degree in computer engineering.

The undersigned finds that including additional engineering disciplines such as computer

engineering tends to contradict Plaintiff’s argument that the level of ordinary skill needs to include

RF circuit design experience because electrical engineering is too broad of a field and thus not

specific enough. Furthermore, computer engineering does not include RF circuit design, and thus

is irrelevant in terms of the level of ordinary skill in the art. Second, while Plaintiff’s alternate

level of skill may be acceptable, the undersigned believes that it is a little too specific to be an

alternative. Rather, the undersigned thinks that Defendants’ alternative—“Less work experience

may be compensated by a higher level of education, such as a master’s degree”—is a better

alternate level of skill as it more generalized.

        Therefore, for the reasons provided above, the undersigned recommends that the level of

ordinary skill in the art is: “[a] Bachelor of Science degree in electrical engineering (or an



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equivalent degree) and at least two additional years of experience in the design and development

of radio frequency circuits and/or systems. Less experience may be compensated by a higher level

of education, such as a master’s degree.”



        B. Term #1: “low impedance load”

              Term                    Plaintiff’s Proposed               TCL’s Proposed
                                          Construction                     Construction
 #1: “low impedance load”         Plain-and-ordinary meaning       Indefinite

 U.S. Patent No. 9,246,736,
 Claims 26, 27; U.S. Patent
 No. 9,444,673, Claim 5

 Proposed by TCL


The Parties’ Positions:

        TCL contends that “intrinsic evidence does not provide an objective boundary for

determining what is a ‘low impedance load.’”         Opening at 2 (emphasis in original).      The

specification describes a “low impedance load” as “one that is significant relative to the output

drive impedance of the system for a given output frequency.” Id. at 2–3 (quoting ’736 Patent at

73:52–58) (emphasis added); see also’736 Patent at 76:34–40 (“Recall from the overview of

under-sampling that loads can be classified as high impedance loads or low impedance loads. A

high impedance load is one that is relatively insignificant to an output drive impedance of the

system for a given output frequency. A low impedance load is one that is relatively significant.”).

TCL contends this only creates another term of degree (“significant relative”) which depends on

the output. Id.

        According to TCL, the “dependency of ‘low impedance’ on a ‘given output frequency’

renders [low impedance] indeterminate” because the load impedance varies with the output

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frequency. Id. at 3–4. TCL contends that neither the specification nor the claims specify what

frequencies result in a “low” impedance. Id. at 4.

       TCL contends that other references to “low impedance” in the specification do not provide

objective guidance. Id. at 5. For example, TCL contends that “significantly discharge” in the

following passage does not provide any more guidance than “significant relative to” or the

dependence of “low impedance” on the output frequency. Id.

       When the load 7812 is a low impedance load, the holding capacitance 7808 is
       significantly discharged by the load between pulses 8004 (FIG. 80C). As a result,
       the holding capacitance 7808 cannot reasonably attain or ‘hold’ the voltage of the
       original EM input signal 7804, as was seen in the case of FIG. 79D. Instead, the
       charge appears as the output illustrated in FIG. 80D.

’736 Patent at 74:10–16 (emphasis added).

       TCL contends that Fig. 79D illustrates a circuit with high impedance while Fig. 80D

illustrates a circuit with low impedance, but the specification does not provide any guidance as to

the distinction between the two. Id. at 5–6. TCL contends that the prosecution history does not

provide any guidance either. Id. at 6.

       In its response, Plaintiff contends that “low impedance” is a well-known term within the

field of electrical engineering at the time of the invention. Response at 2. Plaintiff points to Figs.

78B and 82B which depict 1 MΩ and 2 kΩ impedances and contends, without citation to the

specification, that the former is a high impedance load while the latter is a low impedance. Id. at

2–3. Plaintiff also points out that the specification describes that the load is either “high” or “low”

impedance. Id. at 3 (citing 70:35–36 (“Recall from the overview of under-sampling that loads can

be classified as high impedance loads or low impedance loads.”)).

       Plaintiff contends that the patent specification discloses two systems—an energy

transfer/sampling system—which uses low impedance—and a voltage sampling system—which



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uses high impedance. Id. at 4–5. The former uses a low impedance because energy needs to be

transferred from the capacitor across the load while the latter uses a high impedance to prevent

discharge of the capacitors. Id. at 5.

       Plaintiff contends that the claims are directed towards down-converting a modulated carrier

signal to a demodulated baseband signal. Id. at 5–6. Plaintiff the contends that a “POSITA would

understand that the claim language itself defines the ‘given output frequency’ as a baseband

frequency.” Id. at 6.

       In its reply, TCL contends that Plaintiff does not—nor does the specification provide any

guidance—as to the boundary between low and high impedance. Reply at 1–2. TCL contends

that even if 1 MΩ is high impedance and 2 kΩ is low, the specification does not provide guidance

whether a load of 900 kΩ, 500 kΩ, 100 kΩ, etc. is low impedance. Id. at 2.

       With respect to Plaintiff’s argument that low impedance is used in energy transfer systems

while high impedance is used in voltage sampling, TCL responds in at least two ways. First, any

non-infinite impedance will allow for some discharge. Id. at 3. Second, TCL contends that

Plaintiff’s argument fails to provide guidance as to how much energy must be discharged in order

for the impedance to shift from low to high. Id.

       In its sur-reply, Plaintiff contends that the specification does not need to provide a

numerical boundary, but only that the “specification provides guidance (and objective bounds) to

a skilled person (who can impart his/her own knowledge of circuits) as to what constitutes a low

impedance load.” Sur-Reply at 1 (emphasis in original). Plaintiff also contends that “[t]he degree

may be determined by looking to the functionality obtained by the invention.” Id. (citing Medrad,

Inc. v. MRI Devices Corp., 401 F.3d 1313, 1320 (Fed. Cir. 2005)).




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       Plaintiff cites several cases where courts found that “low” was not indefinite. Sur-Reply

at 1 (Freeny v. Apple Inc., No. 2:13-CV-00361-WCB, 2014 U.S. Dist. LEXIS 120446, at *15–*19

(E.D. Tex. Aug. 28, 2014) (finding “low power communication signals” not indefinite);

CardioFocus, Inc. v. Cardiogenesis Corp., 827 F. Supp. 2d 36, 43–44 (D. Mass. 2011) (finding

“low hydroxyl ion content” not indefinite); Input/Output, Inc. v. Sercel, Inc., No. 5:06CV236, 2007

U.S. Dist. LEXIS 98316, 2007 WL 6196070, at *30 (E.D. Tex. Dec. 19, 2007)).

       Plaintiff argues that the specification describes that “‘low impedance load’ must be low

enough to allow for ‘non-negligible amounts of energy’ to be transferred and become part of the

down-converted signal in an energy transfer system.” Sur-Reply at 1–2 (citing’673 Patent at

66:29–36; 70:40–49; 100:28–31). Plaintiff contends that “non-negligible” is not indefinite, as

evidenced by TCL’s usage in one of its proposed constructions. Id. at 2.

       Plaintiff further contends that the specification’s failure to provide a “boundary”

impedance value is the wrong question as “[t]he issue is not about what impedance values to use

in the abstract but, rather, what impedance values achieve an energy transfer system (transferring

non-negligible amounts of energy) as opposed to a sample-and-hold system (holding a sampled

voltage value).” Id. at 3. Plaintiff contends that the specification describes that the impedance

value is low such that “non-negligible” amounts of energy are transferred. Id.



The Undersigned’s Analysis:

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

agrees with Plaintiff that this term not indefinite and should be construed according to its plain-

and-ordinary meaning for the reasons that follow. First, based on the undersigned’s electrical

engineering experience, “low” (and similarly “high”), are terms that electrical engineers frequently



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use to describe physical attributes such as voltage, current, and impedance.          As such, the

undersigned finds that, both as a general matter and in the context of this patent, that a POSITA

would understand with reasonable certainty the meaning of this claim term.

        Second, the undersigned disagrees with TCL that the intrinsic evidence does not adequately

explain the meaning and scope of “low impedance load.” More specifically, based on the

disclosures in the specification, a POSITA would be able to make a reasonable calculation as to

what low impedance is. If the impedance is too high, it would take too long to transfer a non-

negligible energy to the load; in this situation, the sampling rate would need to be drastically

decreased.    Unlike a high impedance load, a low impedance load causes the capacitor to

significantly discharge the stored energy between the pulses of the energy transfer signal (i.e.,

when the switch is open). Notably, the specification provides guidance as to the effects of lowering

the impedance of the load in a voltage sampling system by replacing the high impedance load with

a low impedance load.      ’673 Patent at 66:29–-36; 70:40–49; 100:28–31.          Calculating the

impedance value necessarily requires accounting for the output frequency over the operational

range of the circuit.

        Third, the undersigned concludes that TCL is incorrect in arguing the specification

provides no numerical guidance as to the boundary between low and high impedance. The

undersigned agrees with the Plaintiff that the issue is not about what impedance values to use in

the abstract but, rather, what impedance values achieve an energy transfer system (transferring

non-negligible amounts of energy) as opposed to a sample-and-hold system (holding a sampled

voltage value). The undersigned concludes that the specification adequately differentiates low and

high impedance, as explained above.




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       Therefore, the undersigned does not find that TCL has provided clear-and-convincing

evidence that a POSITA would not understand, with reasonable certainty, the meaning of this

claim term. Nautilus, 572 U.S. at 901; Sonix Tech. Co. v. Publ’ns Int’l, Ltd., 844 F.3d 1370, 1377

(Fed. Cir. 2017). As such, the undersigned recommends that this term is not indefinite and that it

should be construed according to its plain-and-ordinary meaning.



       C. Term #2: “said energy discharged from said capacitor provides sufficient power
          to drive the low impedance load”

             Term                     Plaintiff’s Proposed                TCL’s Proposed
                                          Construction                      Construction
 #2: “said energy discharged      Plain-and-ordinary meaning        Indefinite
 from said capacitor provides
 sufficient power to drive the
 low impedance load”

 U.S. Patent No. 9,444,673,
 Claim 5

 Proposed by TCL


       TCL contends that the ’673 Patent fails to inform a POSITA with “reasonable certainty”

how much power is “sufficient” to drive a low impedance load. Opening at 7–8. TCL contends

that the ’673 Patent only uses the phrase “sufficient power” only in Claim 5. Id. at 8. TCL points

to several passages in the specification to illustrate that there is no guidance as to the meaning of

this phrase. Id. With respect to column 120, lines 1 to 9, TCL contends that this passage does not

say how to determine what is “sufficient power.” Id.

       [T]he storage module should have an impedance at the desired output frequencies
       that is preferably greater than or equal to the load that is intended to be driven (for
       example, in an embodiment, storage module impedance at a desired 1 MHZ output
       frequency is 2 kΩ and the desired load to be driven is 50 Ω).



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With respect to column 71, lines 4 to17, TCL contends that this passage describes where energy

can “efficiently drive lower impedance loads.” Id. at 8–9.

       The down-converted signal 8312 is similar to the down-converted signal illustrated
       in FIG. 79F, except that the down-converted signal 8312 has substantially more
       power (e.g.: 𝑉 𝑅; approximately (˜) 2 mV and 2 kΩ) than the down-converted
       signal illustrated in FIG. 79F (e.g.: 𝑉 𝑅 ; ˜5 mV and 1 MΩ). As a result, the
       down-converted signals 8310 and 8312 can efficiently drive lower impedance
       loads, given the input EM signal 8204 would typically have a driving impedance,
       in an RF environment, of 50 Ohms (e.g.: 𝑉 𝑅 ; ˜5 mV and 50 Ω).

With respect to column 65, lines 61 to 67, TCL contends that this passage describes embodiments

where an energy transfer system can “drive lower impedance loads unassisted.” Id. at 9.

       Portions of the voltages at the outputs 4408 and 4410 also include ripple voltage or
       noise resulting from the switching action of the switch module 4416. But because
       the switch module is positioned between the two outputs, the noise introduced by
       the switch module appears at the outputs 4408 and 4410 as substantially equal and
       in-phase with one another.

       TCL also contends that the dependance of impedance on the output frequency further

“compound[s]” the uncertainty. Id. at 8.

       In its response, Plaintiff contends that:

       In context, the term “said energy discharged from said capacitor provides sufficient
       power to drive the low impedance load” simply means that the capacitor provides
       a non-negligible amount of energy (sources current) to the low impedance load for
       the duration of time the switch is open. Otherwise, (i.e., if the capacitor did not
       supply sufficient power to the low impedance load for the duration of time the
       switch is open), information would be lost in the down-converted signal, thereby
       producing a degraded and/or unusable signal that could not be properly processed
       by a receiving wireless device.

Response at 8 (emphasis in original). In support of this argument, Plaintiff contends that Claims

1 and 5 of the ’673 Patent “track[s] the energy transfer shown in Fig. 82B.” Id. at 7. Plaintiff

contends that for the circuit shown in Fig. 82B, the down-converted signal as shown in Fig. 57E

is made up of two parts, when the switch is closed and when its open. Id. Plaintiff colorized Fig.


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57E to show the effect on the down-converted signal when the signal is closed (blue) and when

the signal is open (yellow). Id.




Based on this understanding, Plaintiff contends that “the term “said energy discharged from said

capacitor provides sufficient power to drive the low impedance load” simply means that the

capacitor provides a non-negligible amount of energy (sources current) to the low impedance load

for the duration of time the switch is open.” Id. at 8.

        In its reply, TCL first contends that Plaintiff’s argument is conclusory. Reply at 5. TCL

also contends that Plaintiff mainly—and incorrectly—focuses on Claim 1, and not Claim 5. Id.

TCL contends that Plaintiff’s argument renders “sufficient” to be superfluous because any “non-

negligible” amount of power could drive the load is thereby “sufficient.” Id. TCL further contends

that:

        And for that matter, if a “low impedance load” effectively means that “the holding
        capacitance . . . is significantly discharged by the low impedance load between
        pulses” as ParkerVision argues (PV. Br. at 5), then the entire phrase “and wherein
        said energy discharged from said capacitor provides sufficient power to drive the
        low impedance load” recited in claim 5 would be surplusage in view of the earlier-
        recited term “wherein said load circuitry comprises a low impedance load.”




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Id. TCL finally contends that if “non-negligible” energy transfer means “sufficient power,” then

plain-and-ordinary meaning for the latter is incorrect. Id.

       In its sur-reply, Plaintiff counters the assertion that it incorrectly focuses on Claim 1 by

pointing out that Claim 5 depends on Claim 1, so the claims must be read together. Sur-Reply at

4. In particular, Claim 1 recites charging and discharging the capacitor while Claim 5 recites

“wherein said energy discharged from said capacitor provides sufficient power to drive the low

impedance load.” Id.

       With respect to argument that “sufficient” is rendered superfluous by Plaintiff’s arguments,

Plaintiff contends that TCL also “mischaracterize[s]” Plaintiff’s interpretation of the claim

language. Id. at 4. Plaintiff contends that TCL also ignores “for the duration of time the switch is

open” in Plaintiff’s argument. Id. (“ParkerVision carefully explained in its opening brief that the

term “said energy discharged from said capacitor provides sufficient power to drive the low

impedance load” means that the capacitor provides a non-negligible amount of energy to the low

impedance load for the duration of time the switch is open.”) (emphasis in original).

       With respect to TCL’s “surplusage” argument, Plaintiff contends that TCL’s argument

“conflates the concept of low impedance load with the amount of energy stored in the capacitor.

Id. at 5. Plaintiff contends that the “‘sufficient power to drive the low impedance load’ in claim 5

comes from discharging some of the previously accumulated energy into the load circuitry each

time the switch is opened. Each claim element is distinct, and thus, there is no ‘surplusage’ as

Defendant[] contend[s].” Id.




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The Undersigned’s Analysis:

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

agrees with Plaintiff that this term not indefinite and should be construed according to its plain-

and-ordinary meaning for the reasons that follow. First, with respect to TCL’s argument that the

intrinsic evidence does not adequately explain the meaning and scope of the claim term, the

undersigned concludes that a POSITA would, in light of the specification, understand with

reasonable certainty” how much power is “sufficient” to drive a low impedance load. In particular,

the undersigned thinks that Plaintiff’s technical explanation of the circuit’s operation—which TCL

does not seem to dispute—is correct.

       Based on this technical explanation, the undersigned finds that “sufficient power” provides

a floor as to how big the capacitor needs to be, how long the switch is closed in relation to the

impedance value, the output frequency, and how accurate the down-converted signal needs to be.

If the capacitor cannot provide “sufficient power,” the voltage across the capacitor will drop to

zero, which means that the voltage of the down-converted signal will also be zero. In that case,

the resultant down-converted signal will be distorted. To avoid that problem, that capacitor needs

to be large enough to provide sufficient power. This is further bolstered by other descriptions in

the specification: the signal must be “distinguishable from noise,” have “sufficient energy to drive

lower impedance circuits without buffering,” and “drive lower impedance loads unassisted.” ’673

Patent at 66:29–36; 65:61–65.

       Second, the undersigned generally finds TCL’s arguments to be unconvincing. Plaintiff’s

argument correctly relies on Claim 1, as Claim 5 depends on Claim 1, so the claims must be read

together. Claim 1 recites charging and discharging the capacitor while Claim 5 recites “wherein

said energy discharged from said capacitor provides sufficient power to drive the low impedance



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load.” Based on these two claims, a POSITA would understand what power is “sufficient”: the

capacitor has to be able to accumulate enough charge in order to provide “sufficient power” to

drive the load impedance. If the capacitor does not accumulate sufficient charge, then the output

signal will not accurately represent what the down-converted signal.

       Therefore, based on the foregoing, the undersigned does not find that TCL has provided

clear-and-convincing evidence that a POSITA would not understand, with reasonable certainty,

the meaning of this claim term. Nautilus, 572 U.S. at 901; Sonix Tech., 844 F.3d at 1377. As such,

the undersigned recommends that this term is not indefinite and that it should be construed

according to its plain-and-ordinary meaning.


       D. Term #3: “Storage” terms

             Term                     Plaintiff’s Proposed           Defendants’ Proposed
                                          Construction                     Construction
 #3: “Storage” terms             Energy storage element /         “an apparatus that stores
                                 storage element: “an element     non-negligible amounts of
 U.S. Patent No. 6,049,706,      of an energy transfer system     energy from the carrier
 Claims 105, 114, 115, 164,      that stores non-negligible       signal.”
 166, 168, 175, 179, 186, 190;   amounts of energy from an
 U.S. Patent No. 6,580,902,      input electromagnetic signal     (all terms are indefinite under
 Claim 1; U.S. Patent No.        for driving a low impedance      ParkerVision’s proposed
 7,110,444, Claim 3; U.S.        load.”                           constructions)
 Patent No. 7,292,835, Claims
 1, 18, 20; U.S. Patent No.      Energy storage module /
 8,588,725, Claims 1, 6, 17,     storage module: “a module of
 18, 19; U.S. Patent No.         an energy transfer system
 8,660,513, Claim 19; U.S.       that stores non-negligible
 Patent No. 9,118,528, Claims    amounts of energy from an
 1, 9; U.S. Patent No.           input electromagnetic signal
 9,246,736, Claims 1, 11, 21,    for driving a low impedance
 26, 27; U.S. Patent No.         load.”
 9,444,673, Claims 13, 17, 18
                                 Energy storage device: “a
 Proposed by ParkerVision        device of an energy transfer
                                 system that stores non-
                                 negligible amounts of energy
                                 from an input electromagnetic

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                                  signal for driving a low
                                  impedance load.”


       Judge Albright previously construed this term in ParkerVision v. Intel (6-20-cv-00108 and

6-20-cv-00562). Judge Gilliland also construed this term and provided a memorandum in support

of that construction in ParkerVision v. LG (6-20-cv-00520). ParkerVision, Inc v. LG Elecs., Inc.,

No. 6:21-CV-00520-ADA, 2022 WL 2240465, at *3–*6 (W.D. Tex. June 21, 2022). Both Judge

Albright and Judge Gilliland construed this term as “a[n] [element / module / device] of an energy

transfer system that stores non-negligible amounts of energy from an input electromagnetic

signal.”



The Parties’ Positions:

       The parties make the same arguments, along with a few additional arguments, that the

parties made in ParkerVision, Inc. v. LG Elecs. Id. at *3–7. For brevity, the undersigned

incorporates the summary of the parties’ common arguments as described in Judge Gilliland’s

Order. Id.

       In addition to those common arguments, Defendants contend that Plaintiff’s proposed

construction imports limitations from the specification by limiting the use of storage capacitances

to energy transfer systems. Reply at 7–8 (citing ’518 Patent at 66:11–23).

       Defendants also contend that ParkerVision’s proposed construction is barred by collateral

estoppel. More specifically, Defendants contend that the PTAB and the Middle District of Florida

construed “means for integrating for integrating the transferred energy over aperture periods” as

including a “storage module.” Opening at 11–12. As such, at least according to Defendants,

“storage module” was an “effective limitation” of the claim the PTAB and the Middle District of


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Florida construed. Id. at 12. Defendants further contend that the Federal Circuit “unambiguously

determined that a ‘storage module’ in the context of ParkerVision’s patents [] does not need to be

part of an energy transfer system.” Id. at 13. In particular, the Federal Circuit found that the

claims-at-issue do “not require that the baseband signal be created by discharging energy from a

storage device.” Id.

       Plaintiff contends that Defendants make the same arguments that Judge Albright rejected

in the previous Intel cases. Response at 10. Plaintiff contends that the term the PTAB and the

Middle District of Florida construed is totally different (“means for integrating” versus “energy

storage [element / module / device]).” Response at 14. Plaintiff further contends that “means for

integrating” is a broader term and that the statutory provisions are different. Sur-Reply at 8.

Plaintiff also contends that there cannot be a preclusive effect because the PTAB was still using

the “Broadest Reasonable Interpretation Standard” and not the Phillips standard. Response at 14–

15.

       Plaintiff further contends that Defendants mistakenly direct to a part of the Federal Circuit

opinion handling “means for integrating.” Response at 14. Therefore, Plaintiff contends that the

Federal Circuit did not “unambiguously determine” that a “storage module” does not need to be

part of an energy transfer system and include a “low impedance load.” Id. In addition, Plaintiff

also points out that the “Federal Circuit found the sample-and-hold circuit of Weisskopf includes

a ‘means for integrating’ is not a rejection of ParkerVision’s assertion that storage

element/module/device are elements of an energy transfer system.” Sur-Reply at 8.




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The Undersigned’s Analysis:

        After reviewing the parties’ arguments, considering the applicable law, and reviewing

Judge Gilliland’s Claim Construction Order and Memorandum in Support Thereof in ParkerVision

v. LG, the undersigned declines to adopt Defendants’ proposed construction and instead will

recommend that the Court adopt its final construction from the other ParkerVision cases as the

final construction in this case.

        For brevity, the undersigned incorporates the Judge Gilliland’s analysis with respect to this

term. LG, 2022 WL 2240465, at *8–9. In general, the undersigned agrees with Judge Gilliland

that the specification discloses two types of down-converting systems: energy transfer and sample-

and-hold. Id. at *1–4, *8–9. The undersigned further agrees with Judge Gilliland that the key

difference between a storage [element / module / device] and a holding [element / module / device]

is that the former is used only in an energy transfer system while the latter is used only in a sample-

and-hold system. Id. The undersigned again agrees with Judge Gilliland that the specifications of

the Asserted Patents describe that the only difference between a storage [element / module / device]

and a holding [element / module / device] is whether it is used in an energy transfer circuit or

whether is used in a sample-and-hold circuit. See id. In other words, the specifications do not

describe that there is anything intrinsic to a storage [element / module / device] that makes it a

storage [element / module / device] as compared to a holding [element / module / device]. Rather,

the specifications describe that varying the sampling aperture, capacitance value, and load

impedance determines whether a particular capacitor functions as a storage [element / module /

device] or whether it functions as a holding [element / module / device]. See id. at *4.

        The undersigned does not find Defendants’ other arguments to be persuasive. First, the

undersigned disagrees for the immediately above reasons that Plaintiff’s proposed construction



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imports limitations from the specification by limiting a storage [element / module / device] for use

only in an energy transfer system. See also id. at *1–4, *8–9. Second, with respect to Defendants’

collateral estoppel argument, the undersigned agrees with Plaintiff. In particular, the disputed term

in this case is a different term than was before the PTAB and the court in the Middle District of

Florida, and the statutory provisions are different. Therefore, the undersigned finds that collateral

estoppel does not attach.

       Finally, Defendants’ proposed construction swaps “electromagnetic signal” for “carrier

signal,” ostensibly based upon an alleged lexicographical statement. In other words, even if there

was lexicography, Defendants’ proposed construction deviates from the patentee’s lexicography.

       In conclusion, the undersigned does not find that there was lexicography for the reasons

described above.     Accordingly, the undersigned declines to adopt Defendants’ proposed

construction.

       With respect to Plaintiff’s proposed construction, the undersigned finds that it correctly

captures that the “storage” terms describe an [element / module / device] within an energy transfer

system. More specifically, for the reasons described above, the undersigned finds that the

recommended construction should describe that the “storage” terms are part of an energy-transfer

system. The undersigned, however, does not find that it is necessary to include “for driving a low

impedance load” in the final construction because that is somewhat redundant with “energy

transfer system.” Furthermore, the undersigned believes that it is unnecessary to describe the

disputed terms in terms of what its “downstream” components are. As such, the undersigned does

not believe it should include “for driving a low impedance load” as part of its recommended

construction.




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       Therefore, based on the foregoing, the undersigned recommends that the construction of

the “storage” terms to be “a[n] [element / module / device] of an energy transfer system that stores

non-negligible amounts of energy from an input electromagnetic signal.”



       E. Term #4: “voltage of the input modulated carrier signal is not reproduced or
          approximated at the capacitor during the apertures or outside of the apertures”

             Term                     Plaintiff’s Proposed               TCL’s Proposed
                                          Construction                     Construction
 #4: “voltage of the input        Plain-and-ordinary meaning       Indefinite
 modulated carrier signal is
 not reproduced or
 approximated at the capacitor
 during the apertures or
 outside of the apertures”

 U.S. Patent No. 9,444,673,
 Claim 2

 Proposed by TCL


The Parties’ Positions:

       In its opening, TCL’s argument for why this term is indefinite is because sampling—

whether above or below the Nyquist rate—is inherently an approximation of the original signal.

Opening at 18. As such, at least according to TCL, a POSITA would not understand with

reasonable certainty what it is not to reproduce or approximate the voltage of the input modulated

carrier signal, as a sampled voltage is already an approximation of the original input signal. Id.

       In its response, Plaintiff contends that “not reproduced or approximated” is a comparison

of using an energy transfer system as compared to a sample-and-hold system. Response at 16–19.

Because of the high impedance load in a sample-and-hold system, very little charge on the

capacitor discharges. Id. at 17. Plaintiff contends that Fig. 79E shows how the sample-and-hold


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system reproduces or approximates the input modulated signal in Fig. 79A. Id. (annotations by

Plaintiff).




The voltage of the signal in Fig. 79E reproduces or approximates the voltage of the signal in Fig.

79A.

        By contrast, because of the low impedance load in an energy transfer system, when the

switch is open, the capacitor discharges more charge across the load (as compared with the

capacitor in the sample-and-hold system). Id. As such, the voltage across the capacitor drops by

more. Fig. 83D shows the effect on the voltage across the capacitor, as compared to the voltage

of the input signal which is depicted in Fig. 83A (annotations by Plaintiff). Id. at 18.




        Plaintiff contends the voltage across the capacitor is lower (-4.0 mV to 4.0 mV) as

compared to the voltage of the input carrier signal (-5.0 mV to 5.0 mV). Id. Plaintiff further notes

that the waveform in Fig. 83E is not a smooth “stair step” signal like that depicted in Fig. 79E, but


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rather has little “spikes” and “decays” more due to charge being discharged through the low

impedance load. Id. Because of this difference in waveforms, Plaintiff contends that a POSITA

“would understand that this demonstrates, in energy transfer systems, the voltage of the input

modulated carrier signal is not reproduced or approximated at the capacitor during the apertures

or outside of the apertures.” Id. at 18–19 (emphasis in original).

       In its reply, TCL concedes that a 1 mV voltage difference between the two systems means

that the voltage across the capacitor in the energy transfer system is not “reproduced.” Reply at

13. TCL, however, still contends that a POSITA still would not understand, with reasonable

certainty, whether the input was “approximated.” Id. TCL also argues that a lack of precision or

a numerical boundary also renders the term indefinite. Id.

       In its sur-reply, Plaintiff first contends that Federal Circuit case law does not require

precision or a numerical boundary. Sur-Reply at 10–11. Plaintiff otherwise repeats the arguments

it made in its Response. Id. at 11–12.



The Undersigned’s Analysis:

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

agrees with Plaintiff that this term is not indefinite and should be construed according to its plain-

and-ordinary meaning.

       With respect to TCL’s argument that the intrinsic evidence does not adequately explain the

meaning and scope of “not reproduced or approximated”, the undersigned concludes that a

POSITA would, in light of the specification, understand with reasonable certainty that it is not to

reproduce or approximate the voltage of the input modulated carrier signal. More specifically, the

difference in the size of the load impedance, inter alia, in a sample-and-hold system and an energy



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transfer system determines whether the “voltage of the input modulated carrier signal is not

reproduced or approximated.” In the former system, because the load impedance is large, very

little of the charge stored on the capacitor discharges through the load impedance. As such, the

voltage across the capacitor reproduces or approximates the voltage of the input modulated carrier

signal. By contrast, in the latter system, because the load impedance is small, a significant amount

of the charge stored on the capacitor discharges through the load impedance. Accordingly, the

voltage across the capacitor does not reproduce or approximate the voltage of the input modulated

carrier signal.

        Based on the foregoing, the undersigned does not find that TCL has provided clear-and-

convincing evidence that a POSITA would not understand, with reasonable certainty, the meaning

of this claim term. Nautilus, 572 U.S. at 901; Sonix Tech., 844 F.3d at 1377. As such, the

undersigned recommends that this term is not indefinite and that it should be construed according

to its plain-and-ordinary meaning.



        F. Term #5: “a down-convert and delay module to under-sample an input signal to
           produce an input sample of a down-converted image of said input signal, and to
           delay said input sample”

              Term                     Plaintiff’s Proposed              TCL’s Proposed
                                           Construction                    Construction
 #5: “a down-convert and           Not subject to 35 U.S.C.        Subject to 35 U.S.C.
 delay module to under-            § 112, ¶ 6                      § 112, ¶ 6.
 sample an input signal to
 produce an input sample of a      Plain-and-ordinary meaning      Function: “under-sample an
 down-converted image of                                           input signal according to a
 said input signal, and to delay                                   control signal to produce an
 said input sample”                                                input sample of a down-
                                                                   converted image of said input
 U.S. Patent No. 6,049,706,                                        signal, and to delay said input
 Claims 1, 7                                                       sample”

 Proposed by TCL

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                                                                   Structure: “the down-
                                                                   convert and delay module
                                                                   2624 in Fig. 26 and described
                                                                   at 26:1–27:21 and 28:2041,
                                                                   that includes the switches
                                                                   2650 and 2654, and the
                                                                   capacitors 2652 and 2656;
                                                                   and equivalents thereof”


       Judge Albright previously construed this term in ParkerVision v. Intel (6-20-cv-00562) as

“Not subject to § 112, ¶ 6. Plain-and-ordinary meaning.”

       The undersigned first analyzes whether § 112, ¶ 6 applies. If so, the undersigned will then

analyze what the function and corresponding structure is for this term.


The Parties’ Positions Regarding Whether § 112, ¶ 6 Applies:

       TCL contends that this term is subject to § 112, ¶ 6 because this term fails to connote

sufficient, definite structure given that (1) “module” is a well-known nonce word that operates as

a substitute for “means,” (2) this term does not have a well-understood specific structural meaning

to a POSITA, and (3) that the words before “module” are purely functional. Opening at 19.

       Plaintiff first contends that TCL makes the same arguments that the Court rejected in the

previous Intel cases. Response at 19. Plaintiff contends that this term is not subject to § 112, ¶ 6

because (1) the term does not contain the word “means for” so it is presumed not to be subject to

§ 112, ¶ 6, (2) the claims recite definite structure (e.g., “down-convert and delay” has a known

structure that incorporates components/circuits, such as a capacitor), and (3) dependent claims 3

and 4 make it clear that this module includes structural components/circuits. Id. at 19–20.




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The Undersigned’s Analysis Whether § 112, ¶ 6 Applies:

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

agrees with Plaintiff that this term is not subject to § 112, ¶ 6 and should be construed as having

its plain-and-ordinary meaning for the reasons that follow. First, there is no dispute that the term

does not contain the words “means for” and thus that the presumption that the term is subject to

§ 112, ¶ 6 does not apply. Second, although the undersigned agrees with TCL that the words

“down-convert and delay module” are functional, the undersigned concludes that that fact does

not provide support for TCL’s position because, at most, the words before “module”—“down-

convert and delay module”—are redundant with the words after “module”—“to under-sample an

input signal to produce an input sample of a down-converted image of said input signal, and to

delay said input sample.” Furthermore, many devices are named after the function they perform

but are not subject to § 112, ¶ 6. Hill-Rom Servs., 755 F.3d at 1375 (“Many devices take their

names from the functions they perform. The examples are innumerable, such as ‘filter,’ ‘brake,’

‘clamp,’ ‘screwdriver,’ or ‘lock.’”).

       Third, a POSITA would understand that to down-convert and delay an electrical signal

requires using physical components such as a switch, sampling aperture signal, capacitor,

impedance, etc. In other words, these components provide sufficient structure to prevent the

application of § 112, ¶ 6. TEK Glob., S.R.L. v. Sealant Sys. Int’l, Inc., 920 F.3d 777, 786 (Fed.

Cir. 2019) (“Although connoting precise physical structure is not a necessary condition to avoid

§ 112, ¶ 6 application, it is generally sufficient.”). Relatedly, dependent claims 3 and 4 expressly

describe that the down-convert and delay module comprises physical components such as a switch,

storage element, and voltage (“reference potential”). Id.




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       Therefore, based on the foregoing, the undersigned recommends that this term is not

subject to § 112, ¶ 6 and that it should be construed as having its plain-and-ordinary meaning.



       G. Term #6: “delay module” terms

             Term                     Plaintiff’s Proposed               TCL’s Proposed
                                          Construction                     Construction
 #6: “delay module” terms         Not subject to 35 U.S.C.         Subject to 35 U.S.C.
                                  § 112, ¶ 6.                      § 112, ¶ 6.
 U.S. Patent No. 6,049,706,
 Claims 1, 7, 34, 140             Plain-and-ordinary meaning       Function: “delay instances
                                                                   of an output signal / further
 Proposed by TCL                                                   delay one or more of said
                                                                   delayed and down-
                                                                   converted input samples”

                                                                   Structure: “structure
                                                                   including “first delay
                                                                   module 2628,” “second
                                                                   delay module 2630” shown
                                                                   in Fig 26, “delay module
                                                                   3204” shown in Fig. 32
                                                                   and described at 35:118;
                                                                   the sample and hold circuit
                                                                   4501 and 4503 in Fig. 45
                                                                   and described at 32:44–
                                                                   33:19; or an analog delay
                                                                   line having a combination
                                                                   of capacitors, inductors
                                                                   and/or resistors described
                                                                   at 35:19–27; or equivalents
                                                                   thereof”


       Judge Albright previously construed this term in ParkerVision v. Intel (6-20-cv-00562) as

“Not subject to § 112, ¶ 6. Plain-and-ordinary meaning.”

       The undersigned first analyzes whether § 112, ¶ 6 applies. If so, the undersigned will then

analyze what the function and corresponding structure is for this term.



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The Parties’ Positions Regarding Whether § 112, ¶ 6 Applies:

       TCL contends that this term is subject to § 112, ¶ 6 because this term fails to connote

sufficient, definite structure given that (1) “module” is a well-known nonce word that operates as

a substitute for “means,” (2) “delay module” does not have a well-understood specific structural

means to a POSITA, and that Plaintiff does not show that it does, and (3) the specification describes

this term in functional terms. Opening at 20–21.

       Plaintiff first contends that TCL makes the same arguments that the Court rejected in

previous Intel cases. Response at 20. Plaintiff contends that this term is not subject to § 112, ¶ 6

because (1) the term does not contain the word “means for” so it is presumed not to be subject to

§ 112, ¶ 6 and (2) the claims recite definite structure (e.g., “delay” has a known structure that

incorporates components/circuits, such as a capacitor). Id. at 20–21.



The Undersigned’s Analysis Whether § 112, ¶ 6 Applies:

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

agrees with Plaintiff that this term is not subject to § 112, ¶ 6 and should be construed according

to its plain-and-ordinary meaning for the reasons that follow. First, there is no dispute that the

term does not contain the words “means for” and that the presumption that the term is subject to

§ 112, ¶ 6 concomitantly does not apply. Second, while the word “delay” may be functional, the

undersigned concludes that this device is simply named after the function it performs, but that does

not necessarily mean that § 112, ¶ 6 applies. Hill-Rom Servs., 755 F.3d at 1375 (“Many devices

take their names from the functions they perform. The examples are innumerable, such as ‘filter,’

‘brake,’ ‘clamp,’ ‘screwdriver,’ or ‘lock.’”). Third, a POSITA would understand that delaying an

electrical signal requires using physical components such as a switch, sampling aperture signal,



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capacitor, impedance, etc. In addition, dependent claims 3 and 4 describe that the down-convert

and delay module comprises physical components such as a switch, storage element, and voltage

(“reference potential”). Furthermore, the delay module is part of a larger electrical circuit. For

example, Claim 1, Limitation [b] recites a filter that comprises a delay module. A POSITA would

understand that a filter is an electrical circuit that filters out a range of frequencies, depending on

the type of the filter (e.g., low-pass, high-pass, band-pass, and band-reject). These components

provide sufficient structure to prevent the application of § 112, ¶ 6. TEK Glob., 920 F.3d at 786

(“Although connoting precise physical structure is not a necessary condition to avoid § 112, ¶ 6

application, it is generally sufficient.”).

        Fourth, the surrounding claim language describes the input, output and connections of the

delay module, which describes the structure of the claim term. Apple, 757 F.3d at 1299, rev’d on

other grounds by Williamson, 792 F.3d at 1349 (“Structure may also be provided by describing

the claim limitation’s operation, such as its input, output, or connections.”). For example, as

described above, Claim 1, Limitation [b] recites a filter that comprises a delay module. This claim

language describes that the input to the delay module is “an output signal” and the output is a

delayed version of the output signal. ’706 Patent, Cl. 1, Limitation [b] (“at least one delay module

to delay instances of an output signal; and (c) an adder to combine at least said delayed input

sample.”). This claim language also describes that the output of the delay module is used as an

input to an adder. Id. Language in the other claims similarly recite inputs, outputs, and/or

connections of the delay module. Id., Cl. 7[b], 7[c]; 34[b]; 140[a], 140[b].

        Therefore, based on the foregoing, the undersigned recommends that this term is not

subject to § 112, ¶ 6 and that it should be construed according to its plain-and-ordinary meaning.




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      H. Term #7: “said control signal comprises a train of pulses having pulse widths that
         are established to improve energy transfer from said input signal to said down-
         converted image”

             Term                     Plaintiff’s Proposed               TCL’s Proposed
                                          Construction                     Construction
 #7: “said control signal         Plain-and-ordinary meaning       Indefinite
 comprises a train of pulses
 having pulse widths that are
 established to improve
 energy transfer from said
 input signal to said down-
 converted image”

 U.S. Patent No. 6,049,706,
 Claim 2

 Proposed by TCL


       Judge Albright previously construed this term in ParkerVision v. Intel (6-20-cv-00562) as

“Not indefinite. Plain-and-ordinary meaning.”



The Parties’ Positions:

       TCL contends this term is indefinite because: the intrinsic evidence does not (1) describe

what an “improvement” in energy transfer is, (2) how to measure such an improvement, and (3)

how much of an improvement is necessary to satisfy this claim term. Opening at 22. TCL further

contends that “established to” creates further ambiguity because it suggests that there is an intent

requirement to this term. Id.

       Plaintiff contends that TCL makes the same arguments that Judge Albright rejected in the

-00562 Intel case. Response at 21. According to Plaintiff, the meaning of “‘pulse widths that are

established to improve energy transfer’ simply means that pulses having non-negligible apertures

are being used.” Id. Plaintiff contends that by using non-negligible apertures (which are apertures


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which tend away from zero)—as compared to negligible apertures—the switch is closed longer,

which allows more energy to be transferred from the input voltage signal to the capacitor. Id. at

21–22. Plaintiff further contends that the specification provides guidance to a skilled person on

how to improve energy transfer. Id. at 22–23. In particular, Plaintiff points to the following

passage:

       In another embodiment, the pulses of the control signal 5306 have non-negligible
       apertures that tend away from zero. This makes the UFT module 5302 a lower input
       impedance device. This allows the lower input impedance of the UFT module 5302
       to be substantially matched with a source impedance of the input signal 5304. This
       also improves the energy transfer from the input signal 5304 to the down-
       converted output signal 5312, and hence the efficiency and signal to noise (s/n)
       ratio of UFT module 5302.
’706 Patent at 32:9–18 (emphasis added). Plaintiff contends that this passage describes that the

use of non-negligible apertures improves energy transfer from the input signal to the down-

converted output signal. Response at 23.



The Undersigned’s Analysis:

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

agrees with Plaintiff that this term is not indefinite and should be construed according to its plain-

and-ordinary meaning for the reasons that follow.

       First, with respect to TCL’s first argument that the intrinsic evidence does not adequately

explain the meaning and scope of “improvement,” the undersigned concludes that a POSITA

would, in light of the specification, understand with reasonable certainty the meaning of this claim

term. More specifically, the specification describes that in an energy transfer system sampling

apertures are non-negligible and that the input impedance to the down-converter is both “low” and

“substantially matche[s]” the source impedance of the input signal. ’706 Patent at 32:9–14. The

specification then describes that “[t]his also improves the energy transfer from the input signal

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5304 to the down-converted output signal 5312, and hence the efficiency and signal to noise (s/n)

ratio of UFT module 5302.” Id. at 32:14–18. A POSITA would understand that this passage

describes that using sampling apertures that are non-negligible (and/or matching the impedance)

maximizes the power transfer between the input signal source and the down-converter. More

specifically, as described in the above background, using non-negligible sampling apertures allows

more of the input signal’s energy to be transferred by increasing the amount of time that the energy

may be transferred, at least as compared to negligible sampling apertures. Similarly, matching

impedances also maximizes power / energy transfer. Because voltage sources ideally have low

output impedances, the input impedance of the down-converter likewise needs to be low in order

to match impedances. Based on this passage, the undersigned concludes that a POSITA would

understand with reasonable certainty that using non-negligible sampling apertures increases—i.e.,

improves—the amount of energy that is transferred to the down-converter (and, concomitantly, to

the down-converted signal).

       The specification contrasts the use of negligible sampling apertures (and high and

unmatched input impedances) in a sample-and-hold system to reduce the amount of energy

transfer. More specifically, the specification recites “In an embodiment, the pulses of the control

signal 5306 have negligible apertures that tend towards zero. This makes the UFT module 5302 a

high input impedance device.       This configuration is useful for situations where minimal

disturbance of the input signal may be desired.” Id. at 32:4–8. When the sampling aperture is

negligible (and/or input impedance is high), less energy is transferred from the input signal to the

down-converter.

       Second, with respect to TCL’s arguments that the claim language does not describe how

to measure such an improvement, or much of an improvement is necessary to satisfy this claim



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term, the undersigned disagrees that a failure to do so makes the claim term indefinite. TCL’s

arguments improperly conflate breadth with indefiniteness. BASF Corp. v. Johnson Matthey Inc.,

875 F.3d 1360, 1367 (Fed. Cir. 2017) (“Breadth is not indefiniteness.”). Rather, the undersigned

finds that a POSITA would understand than the plain language of the claim broadly allows for any

measurement approach and any amount of improvement.

       Third, with respect to TCL’s arguments that the word “established” adds an intent

requirement to the claim term, which makes it indefinite, the undersigned disagrees with both with

TC’s premise and conclusion. More specifically, the undersigned finds that, based on the claim

language and in light of the specification, the undersigned understands that “established” in this

claim term means “is used.” Furthermore, to the extent that an intent requirement would render

the claim term to be indefinite, the undersigned declines to construe this term to add an intent

requirement when the plain meaning of “established” does not necessarily require an intent.

Phillips, 415 F.3d at 1327 (“claims should be so construed, if possible, as to sustain their validity”)

(internal quotation marks omitted). Therefore, the undersigned does not find that “established”

adds an intent requirement nor that the term is indefinite for adding an intent requirement.

       Therefore, the undersigned does not find that TCL has provided clear-and-convincing

evidence that a POSITA would not understand, with reasonable certainty, the meaning of this

claim term. Nautilus, 572 U.S. at 901; Sonix Tech., 844 F.3d at 1377. As such, the undersigned

recommends that this term is not indefinite and that it should be construed according to its plain-

and-ordinary meaning.




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       I. Term #8: “means for under-sampling an input signal to produce an input sample
          of a down-converted image of said input signal”

             Term                     Plaintiff’s Proposed               TCL’s Proposed
                                          Construction                     Construction
 #8: “means for under-            Subject to § 112, ¶ 6.           Subject to § 112, ¶ 6.
 sampling an input signal to
 produce an input sample of a     Function: under-sampling         Function: “under-sampling
 down-converted image of          an input signal to produce an    an input signal to produce an
 said input signal”               input sample of a down-          input sample of a down-
                                  converted image of the input     converted image of said input
 U.S. Patent No. 6,049,706,       signal and under-sampling        signal and under-sampling the
 Claim 6                          the input signal according to    input signal according to a
                                  a control signal                 control signal”
 Proposed by TCL
                                  Structure: switch 2650 in        Structure: “the switch 2650
                                  Fig. 26; switch 5308 in          and the capacitor 2652 in Fig.
                                  Figs. 53A/53A-1; and             26; the switch 5308 and
                                  equivalents thereof              capacitor 5310 in Figs.
                                                                   53A/53A-1, and equivalents
                                                                   thereof”


       Judge Albright previously construed this term in ParkerVision v. Intel (6-20-cv-00108 and

6-20-cv-00562).

       The undersigned first analyzes whether § 112, ¶ 6 applies. If so, the undersigned will then

analyze what the function and corresponding structure is for this term.



Whether § 112, ¶ 6 Applies:

       The parties agree that this term is subject to § 112, ¶ 6. As the parties do not dispute this

issue and because it is presumed to be subject to § 112, ¶ 6, the undersigned agrees.




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What the Claimed Function is:

       The parties agree that the claimed function is: “under-sampling an input signal to produce

an input sample of a down-converted image of the input signal and under-sampling the input signal

according to a control signal.” As the parties do not dispute this issue, the undersigned agrees.



The Parties’ Positions Regarding the Corresponding Structure:

       The parties agree that the corresponding structure should include “switch 2650 in Fig. 26;

switch 5308 in Figs. 53A/53A-1; and equivalents thereof,” but dispute whether “capacitor 2652 in

Fig. 26” and “capacitor 5310 in Figs. 53A/53A-1” should be included as well. See, e.g., Opening

at 23. TC contends that the capacitors should be included while Plaintiff does not. Id.

       TCL contends that the parties agree that there are two embodiments that perform the under-

sampling to down-convert function, and which are depicted in Figures 26 and 53A/53A-1.

Opening at 23. Figure 26 (annotated by TCL) depicts:




Id. TCL contends that the specification describes that the switch and capacitor work together to

perform the agreed function. Id. at 24. In particular TCL points to at least two passages for each


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figure. With respect to Figure 26, TCL points to 28:24–28 (“[T]he switch 2650 and the capacitor

2652 operate to down-convert the input signal VI.”) and 26:5–8 (“[T]he combination of the switch

2650 and the capacitor 2652 in the down-convert and delay module 2624 operates to translate the

frequency of the input signal VI to a desired lower frequency.”). With respect to Figure 53, TCL

points to 28:43–44 (stating that “aliasing module 5300”—switch 5308 and capacitor 5310—

performs the down-conversion) and 28:61–67 (“In one implementation, aliasing module 5300

down-converts the input signal 5304 to an intermediate frequency (IF) signal. In another

implementation, the aliasing module 5300 down-converts the input signal 5304 to a demodulated

baseband signal. In yet another implementation . . . the aliasing module 5300 down-converts it to

a non-FM signal.”).

       Plaintiff contends that a switch alone (and not a capacitor) performs the following

functions: (1) “means for under-sampling an input signal to produce an input sample of a down-

converted image of said input signal” and (2) “under-sampling means under-samples said input

signal according to a control signal.” Response at 25. Plaintiff further contends that the capacitor

only receives charge from the opening and closing of the switch and that it is the switch—and not

the capacitor—that performs the undersampling function. Id. Finally, Plaintiff contends that TCL

ignores other passages from the specification that support Plaintiff’s contention that the capacitor

should not be added (’706 Patent at 29:4–8, 39:25–28, 24:40–25:67). Id. at 25–26.



The Undersigned’s Analysis Regarding the Corresponding Structure:

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

agrees with TCL that the corresponding structure should include “capacitor 2652 in Fig. 26” and

“capacitor 5310 in Figs. 53A/53A-1” for the reasons that follow. First, with respect to Plaintiff’s



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argument that a capacitor does not perform the claimed function, the undersigned disagrees

because while a switch is necessary to produce a sample, it is not sufficient. More specifically,

the specification describes an “input sample of a down-converted image of said input signal” as

the amplitude (e.g., voltage), phase, etc. of the input signal at a specific instance of time when the

switch is closed. Id. at 15:36–38 (“This input sample includes information (such as amplitude,

phase, etc.) representative of the input signal existing at the time the sample was taken.”). In other

words, because the input sample is representative of the input signal existing at a specific time, the

means for under-sampling must include a capacitor to store the voltage of the input signal existing

at that specific time. Without a capacitor, the means for under-sampling cannot store the voltage

from that specific time.

       To illustrate that both a switch and a capacitor are needed in order to “produce an input

sample,” consider the circuit depicted in Figure 53A:




When switch 5308 closes, input signal 5304 propagates through switch 5308, which charges up

capacitor 5310 to the voltage of input signal 5304. The voltage across capacitor 5310 is also the

voltage of down-converted output signal 5312. As the voltage of input signal 5304 changes, so

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does the voltage across capacitor 5310. But when switch 5308 opens, there is an open circuit,

which means there is no current flow between input signal 5304 and down-converted output signal

5312. As a result, the voltage across capacitor 5310 stops varying along with input signal 5304,

but rather retains the voltage it had right before switch 5308 opened. ’706 Patent at 32:51–53.

Thus, the voltage on capacitor 5310 is representative of input signal 5304 the moment before the

switch opened; as such, it is an “input sample” of input signal 5304. Id.

       Assuming that the means for under-sampling did not include a capacitor, i.e., capacitor

5310 was not present in Figure 53A, when switch 5308 closes, current flows through the circuit

such that the voltage at the output of switch 5308 (which is also the voltage at down-converted

output signal 5312) is the voltage of input signal 5304. But when the switch opens, there is an

open circuit, which means there is no current flow between input signal 5304 and down-converted

output signal 5312. Because there is no current flow, the voltage at the output of switch 5308 is

likely zero, but it is certainly not the voltage of input signal 5304. In other words, absent capacitor

5310, after the switch opens, the voltage at the output of switch 5308 is likely zero, which is not

representative of input signal 5304 the moment before the switch opened.

       Because a capacitor is needed in order to store the voltage that is representative of input

signal 5304 the moment before the switch opened, the corresponding structures needs to include

both a switch and capacitor.

       Finally, it is worth noting that while Figure 26 is significantly more complex, the same

analysis as above applies.

       Second, after reviewing the passages from the specification cited by both sides, the

undersigned concludes that while the cited passages do not conclusively support either side’s

proposed construction, the passages TCL cites appear to provide slightly more support. With



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respect to the passages TCL cites (Id. at 28:24–28, 26:5–8, 28:43–44, and 28:61–67), they

generally recite that both the switch and capacitor collectively down-convert the input signal. But

the passages do not necessarily describe that the capacitor is required to “produce an input sample

of a down-converted image of said input signal.” By contrast, none of the passages that Plaintiff

cites (Id. at 29:4–8, 39:25–28, 24:40–25:67) describe that the switch alone is all that is needed to

“produce an input sample of a down-converted image of said input signal,” or that a capacitor is

not needed. In fact, the second passage that Plaintiff cites describes that both a switch and

capacitor perform down-conversion, which is closer to TCL’s position than Plaintiff’s. Therefore,

the undersigned finds that the passages cited by the parties ever so slightly favor TCL’s proposed

construction.

       Therefore, based on the foregoing, the undersigned finds that capacitor 2652 in Figure 26

and capacitor 5310 in Figures 53A/53A-1 should be included in the corresponding structure and

recommends that the Court adopt the following construction for this term:

       Subject to § 112, ¶ 6.

       Function: under-sampling an input signal to produce an input sample of a down-
       converted image of said input signal and under-sampling the input signal according
       to a control signal

       Structure: the switch 2650 and the capacitor 2652 in Fig. 26 the switch 5308 and
       capacitor 5310 in Figs. 53A/53A-1, and equivalents thereof.


       J. Term #9: “first delaying means for delaying said input sample”

                Term                  Plaintiff’s Proposed               TCL’s Proposed
                                          Construction                     Construction
 #9: “first delaying means for    Subject to § 112, ¶ 6.           Subject to § 112, ¶ 6.
 delaying said input sample”
                                  Function: delaying the input     Function: “delaying said
 U.S. Patent No. 6,049,706,       sample of a down-converted       input sample”
 Claim 6                          image of said input signal


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 Proposed by TCL                   Structure: capacitor 2656 in      Structure: “switch 2654 and
                                   Fig. 26 or capacitor 5310 in      capacitor 2656 shown in Fig.
                                   Figs. 53A/53A1; and               26”
                                   equivalents thereof


       Judge Albright previously construed this term in ParkerVision v. Intel (6-20-cv-00108 and

6-20-cv-00562).

       The undersigned first analyzes whether § 112, ¶ 6 applies. If so, the undersigned will then

analyze what the function and corresponding structure is for this term.



Whether § 112, ¶ 6 Applies:

       The parties agree that this term is subject to § 112, ¶ 6. As the parties do not dispute this

issue and because it is presumed to be subject to § 112, ¶ 6, the undersigned agrees.



The Parties’ Positions Regarding the Claimed Function:

       The parties disagree whether the claimed function should include “of a down-converted

image of said input signal.” Plaintiff contends that it should be included in the claimed function

while TCL’s proposed function excludes that phrase. TCL contends that Plaintiff’s proposed

function deviates from the claim language. Opening at 24. Plaintiff contends that TCL’s failure

to include “of a down-converted image of said input signal” after “said input sample” in the

claimed function reads out the antecedent relationship in the claim, i.e., with respect to “[an / said]

input sample of a down-converted image of said input signal” between Limitations (1)(a) and

(1)(b). Response at 26.

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

agrees with TCL that the claimed function should not include the phrase “of a down-converted


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image of said input signal” for at least two reasons. First, the phrase does not appear in the claim

term, so it arguably improper to include it. Micro Chem., 194 F.3d at 1258 (“The statute does not

permit limitation of a means-plus-function claim by adopting a function different from that

explicitly recited in the claim.”). Second, the undersigned disagrees with Plaintiff that omitting

the disputed phrase reads out the antecedent relationship with respect to “[an / said] input sample.”

More specifically, Claim 6, Limitation (1)(b) recites “said input sample,” which clearly refers back

to “an input sample of a down-converted image of said input signal” in Claim 6, Limitation (1)(a).

Therefore, omitting the disputed phrase does not read out the antecedent relationship with respect

“[an / said] input sample.”



The Parties’ Positions Regarding the Corresponding Structure:

       The parties have two disputes: (1) whether the corresponding structure includes a switch

and (2) whether the corresponding structure includes the components in Figures 53/53A.

       With respect to the first dispute, Plaintiff contends that the corresponding structure does

not include a switch while TCL maintains that it does. TCL contends that the corresponding

structure needs to include a switch because if there were no switch, there would be no delay as the

input sample would immediately transfer to the capacitor just as if the switch were closed.

Opening at 25–26. Plaintiff contends that “the capacitor is the structure that delays the input

sample” by storing the input signal’s charge and that the switch itself does not perform the function

of delaying the input sample. Response at 28.

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

agrees with TCL that the corresponding structure should include a switch, namely “switch 2654”

in Figure 26. The undersigned disagrees with Plaintiff that the functions of “producing an input



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sample” and “delaying said input sample” can be assigned to the switch alone and the capacitor

alone, respectively. As described with respect to Term #8, a switch and capacitor work together

to “produce an input sample,” and likewise work together to delay the sample. More specifically,

the specification teaches that the input sample is “representative of the input signal existing at the

time the sample was taken.” But without a switch, the down-converter does not take a sample. In

other words, without a switch, the voltage across the capacitor is just the voltage of the input signal,

which is not a sample because it is not “representative” of the input signal but rather is just the

input signal itself.

        Furthermore, without a switch, a capacitor alone is unable to delay a sample. The

specification describes that “a delay module operates to delay samples/instances of a signal

presented at its input by a known amount.” ’706 Patent at 32:27–29; 32:64–67 (delaying by a

“predetermined amount”). Without a switch, the voltage across the capacitor is just the voltage of

the input signal. Id. at 32:49–51. As such, there is either no delay (as the voltage across the

capacitor varies along with the voltage of the input signal) or the delay will be an unknown /

variable amount (due to the exponential charging / discharging time of a capacitor and the varying

input signal).

        Additionally, the specification teaches that the switch and capacitor work together to

produce an input sample and then delay that input sample. For example, Figure 48 depicts how

the circuit in Figure 45 generates delays. Id. at 32:16–17.




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The specification describes that the capacitor charges while the first switch is closed. Id. at 32:49–

51. The specification goes on to describe that, in practice, the sample is taken when the first switch

opens. Id. at 32:51–53. The specification further describes that the capacitor “holds or delays”

the sample for one time period, until the first switch closes again. Id. at 32:55–57; see also id. at

32:46–48. Figure 48 depicts this delay—the period of time between when the first switch opens

the first time and when it opens for the second time—as delay 4807. Id. at 32:57–59. Therefore,

these disclosures clearly describe that the switch and capacitor work together to delay the input

sample.

         With respect to the second dispute, whether the corresponding structure includes the

components in Figures 53/53A, Plaintiff contends that TCL’s proposed construction excludes the

energy transfer system embodiment (depicted in Figures 53/53A). Response at 27. Plaintiff

contends that the Court has already rejected TCL’s position that “under-sampling” is not

performed by an energy transfer system when the Court declined to limit the construction of

“under-sampling” to sampling using negligible apertures. Id. TCL does not appear to directly

address whether Figures 53/53A discloses corresponding structure. See Opening at 22–24; Reply

at 14.

         After reviewing the parties’ arguments and considering the applicable law, the undersigned

agrees with TCL that the corresponding structure does not include the components in Figures

53/53A for at least the following reasons. First, the specification does not clearly link or associate

the components in Figure 53/53A as a delay module. Structure is only “corresponding” if “the

specification or prosecution history clearly links or associates that structure to the function recited

in the claim.” Medtronic, 248 F.3d at 1311. The specification expressly describes that Figure 26




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depicts structure for a delay module (down-convert and delay module 2624). ’706 Patent at Fig.

26;




see also ’706 Patent at 24:61–63 (“The UDF module 2622 includes a down-convert and delay

module 2624, first and second delay modules 2628 and 2630”), 25:6–7 (discussing delay module

2624), 25:24–25 (same). By contrast, the specification does not describe Figures 53/53A in the

same way. Rather, the specification describes the delay module in Figures 53/53A as an “aliasing

module” and not a “delay module.” ’706 Patent at Fig. 53A, 28:42–29:22.




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Based on the disclosures with respect to Figures 53/53A—especially as compared to the

disclosures for Figure 26—the undersigned concludes that the specification does not “clearly link

or associate” the components in Figures 53/53A as a delay module. As such, the components in

Figures 53/53A are not corresponding structure.

         Second, with respect to Plaintiff’s argument that TCL’s proposed construction improperly

excludes the energy transfer system embodiment depicted in Figures 53/53A, the undersigned

disagrees because the specification does not disclose that Figures 53/53A even contains a delay

module. Plaintiff does not point to any disclosures that energy transfer systems comprise a delay

module, let alone that Figures 53/53A contains a delay module. See Response at 26–29, Sur-Reply

at 13.

         Therefore, based on the foregoing, the undersigned finds that the claimed function should

not include “of a down-converted image of said input signal” and that corresponding structure

should include switch 2654 in Figure 26, but should not include Figures 53/53A, and recommends

that the Court adopt the following construction for this term:

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       Subject to § 112, ¶ 6.

       Function: delaying said input sample

       Structure: switch 2654 and capacitor 2656 shown in Fig. 26.


       K. Term #10: “a frequency translator to produce a sample of a down-converted
          image of an input signal, and to delay said sample”

             Term                      Plaintiff’s Proposed             TCL’s Proposed
                                           Construction                   Construction
 #10: “a frequency translator      Not subject to 35 U.S.C.       Subject to 35 U.S.C.
 to produce a sample of a          § 112, ¶ 6.                    § 112, ¶ 6.
 down-converted image of an
 input signal, and to delay said   Plain-and-ordinary meaning     Function:
 sample”                                                          “produce a sample of a down-
                                                                  converted image of an input
 U.S. Patent No. 6,049,706,                                       signal according to a control
 Claim 34                                                         signal, and delay said
                                                                  sample”
 Proposed by TCL
                                                                  Structure: “the down-convert
                                                                  and delay module 2624 in
                                                                  Fig. 26 and described at
                                                                  26:1–27:21 and 28:20–41,
                                                                  that includes the switches
                                                                  2650 and 2654, and the
                                                                  capacitors 2652 and 2656;
                                                                  and equivalents thereof”


       Judge Albright previously construed this term in ParkerVision v. Intel (6-20-cv-00562) as

“Not subject to § 112, ¶ 6. Plain-and-ordinary meaning.”

       The undersigned first analyzes whether § 112, ¶ 6 applies. If so, the undersigned will then

analyze what the function and corresponding structure is for this term.




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The Parties’ Positions Regarding Whether § 112, ¶ 6 Applies:

       TCL contends that § 112, ¶ 6 applies because (1) “frequency translator” fails to connote

sufficient structure, but merely designates the function of translating a frequency and (3) that the

specification describes this term in functional terms. Opening at 26.

       Plaintiff contends that TCL makes the same arguments that the Court rejected in the -00562

Intel case. Response at 29. Plaintiff contends that this term is not subject to § 112, ¶ 6 because

(1) it is presumed not to be in the absence of “means,” (2) the claims recite definite structure (e.g.,

“frequency translator” has a known structure that incorporates components/circuits, such as a

switch and a capacitor), and (3) dependent claim 186 makes it clear that this module includes

structural components/circuits. Id.



The Undersigned’s Analysis Whether § 112, ¶ 6 Applies:

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

agrees with Plaintiff that this term is not subject to § 112, ¶ 6 and should be construed according

to its plain-and-ordinary meaning for the reasons that follow. First, there is no dispute that the

term does not contain the words “means for” and that the presumption that the term is subject to

§ 112, ¶ 6 concomitantly does not apply. Second, the claim language describes that the frequency

translator (1) “produce[s] a sample of a down-converted image of an input signal” and “delay[s]

said sample.” This mirrors the language of Term #5 (“a down-convert and delay module to under-

sample an input signal to produce an input sample of a down-converted image of said input signal,

and to delay said input sample”); likewise, a POSITA would understand that to down-convert and

delay an electrical signal requires using physical components such as a switch, sampling aperture

signal, capacitor, impedance, etc. In other words, these components provide sufficient structure



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to prevent the application of § 112, ¶ 6. TEK Glob., 920 F.3d at 786 (“Although connoting precise

physical structure is not a necessary condition to avoid § 112, ¶ 6 application, it is generally

sufficient.”). Further confirming this conclusion is Claim 186, which recites that the frequency

translator comprises “a switch” and “a storage module electrically coupled to said switch.”

       Therefore, based on the foregoing, the undersigned recommends that this term is not

subject to § 112, ¶ 6 and that it should be construed according to its plain-and-ordinary meaning.



       L. Term #11: “wherein said energy transfer signal generator in widening said
          apertures of said pulses by a non-negligible amount that tends away from zero
          time in duration to extend the time that said switch is closed for the purpose of
          increasing energy transferred from said input signal does so at the expense of
          reproducing said input signal, such that said increased energy transferred from
          said input signal when said switch is closed in response to said energy transfer
          signal prevents substantial voltage reproduction of said input signal”

             Term                     Plaintiff’s Proposed               TCL’s Proposed
                                          Construction                     Construction
 #11: “wherein said energy        Plain-and-ordinary meaning       Indefinite
 transfer signal generator in
 widening said apertures of
 said pulses by a non-
 negligible amount that tends
 away from zero time in
 duration to extend the time
 that said switch is closed for
 the purpose of increasing
 energy transferred from said
 input signal does so at the
 expense of reproducing said
 input signal, such that said
 increased energy transferred
 from said input signal when
 said switch is closed in
 response to said energy
 transfer signal prevents
 substantial voltage
 reproduction of said input
 signal”


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 U.S. Patent No. 6,049,706,
 Claim 111

 Proposed by TCL


The Parties’ Positions:

       TCL contends that this term is indefinite because: (1) it is unclear “how much voltage

reproduction of the input signal is allowed before it becomes a ‘substantial voltage reproduction,’”

(2) no metric is defined to make that determination, and (3) “for the purpose of” language creates

further ambiguity by suggesting that the claim turns on intentionality. Opening at 28.

       Plaintiff contends that this term simply means that “pulses having non-negligible apertures

are being used, and the use of pulses having non-negligible apertures prevents an accurate

reproduction of the original, unaffected voltage level of the input EM signal.” Response at 30.

More specifically, Plaintiff explains that “using pulses having non-negligible apertures increases

the time the switch is closed (ON), thereby transferring non-negligible amounts of energy from an

input EM signal. The transfer of non-negligible amounts of energy prevents “accurately

reproducing the original, unaffected voltage level of the input EM signal.” Id.



The Undersigned’s Analysis:

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

agrees with Plaintiff that this term not indefinite and should be construed according to its plain-

and-ordinary meaning for the reasons that follow.

       First, with respect to TCL’s first argument that it is unclear “how much voltage

reproduction of the input signal is allowed before it becomes a ‘substantial voltage reproduction,”

the undersigned concludes that a POSITA would, in light of the specification, understand with


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reasonable certainty the meaning of this claim term. Plaintiff effectively makes the same argument

it made for Term 7 (“said control signal comprises a train of pulses having pulse widths that are

established to improve energy transfer from said input signal to said down-converted image”):

pulses having non-negligible apertures “improve” energy transfer. In particular, the specification

informs a POSITA to use pulses with non-negligible apertures (i.e., which tend away from zero)

to increase energy transfer, instead of pulses that have negligible apertures (i.e., which tend

towards zero). By using non-negligible apertures, more energy is transferred to a storage device

(e.g., capacitor) from an input signal than would be transferred by using negligible apertures—

hence the language “for the purpose of increasing energy transferred.” Based on this passage, a

POSITA would understand what it means to prevent “substantial” voltage reproduction.

       Second, the undersigned disagrees with the argument that the language “for the purpose

of” creates further ambiguity by suggesting that the claim turns on intentionality. TCL has not

cited a case that potential “intentionality” may mean that a claim term is indefinite. The language

“for the purpose of” appears instead to be the patentee’s way of describing what happens when the

switch is closed.

       Therefore, based on the foregoing, the undersigned does not find that TCL has provided

clear-and-convincing evidence that a POSITA would not understand, with reasonable certainty,

the meaning of this claim term. Nautilus, 572 U.S. at 901; Sonix Tech., 844 F.3d at 1377. As such,

the undersigned recommends that this term is not indefinite and that it should be construed

according to its plain-and-ordinary meaning.



       M. Term #12: “establishing apertures” terms

             Term                       Plaintiff’s Proposed               TCL’s Proposed
                                           Construction                     Construction

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 #12: “establishing apertures”    Plain-and-ordinary meaning             Indefinite
 terms

 U.S. Patent No. 6,049,706,
 Claims 165, 107, 176, 187

 Proposed by TCL



The Parties’ Positions:

       TCL’s sole basis for indefiniteness is that words like “to increase,” “to reduce”, and “for

the purpose of” suggest that infringement of the claim turns on intentionality and is thus indefinite.

Opening at 29.

       Plaintiff contends that these claim terms simply mean “the control signal generator creates

pulses having non-negligible aperture.” Response at 31. Plaintiff contends that non-negligible

apertures mean that the switch is closed for a longer duration than when negligible apertures are

used, which means that more energy is transferred to the capacitor. Id. at 32.



The Undersigned’s Analysis:

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

agrees with Plaintiff that this term not indefinite and should be construed according to its plain-

and-ordinary meaning for the reasons that follow. First, the undersigned finds that a POSITA

would understand that the claim terms “to reduce,” “to increase,” and “for the purpose of

reducing,” indicate what happens when the sampling apertures are wider. Second, TCL has not

cited a case that potential “intentionality” means that a claim term is indefinite.

       Therefore, based on the foregoing, the undersigned does not find that TCL has provided

clear-and-convincing evidence that a POSITA would not understand, with reasonable certainty,


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the meaning of this claim term. Nautilus, 572 U.S. at 901; Sonix Tech., 844 F.3d at 1377. As such,

the undersigned recommends that this term is not indefinite and that it should be construed

according to its plain-and-ordinary meaning.



       N. Term #13: “frequency down-conversion module”

             Term                     Plaintiff’s Proposed               TCL’s Proposed
                                          Construction                     Construction
 #13: “frequency down-            Plain-and-ordinary meaning       Subject to § 112, ¶ 6.
 conversion module”
                                                                   Function: “to down-convert
 U.S. Patent No. 7,110,444,                                        the input signal ... according
 Claims 2, 3                                                       to a [] control signal and
                                                                   output[] a [] down-converted
 Proposed by TCL                                                   signal.”

                                                                   Structure: an
                                                                   “aliasing module 2000”
                                                                   (blue) comprising at least one
                                                                   switch and one capacitor
                                                                   (Figures 20A and 20A-1).


       Judge Albright previously construed this in the ParkerVision v. Intel (6-20-cv-00108) case

as being “Not subject to 35 U.S.C. § 112, ¶ 6” and “Plain-and-ordinary meaning.”

       The undersigned first analyzes whether § 112, ¶ 6 applies. If so, the undersigned will then

analyze what the function and corresponding structure is for this term.



The Parties’ Positions Regarding Whether § 112, ¶ 6 Applies:

       TCL contends that § 112, ¶ 6 applies because (1) “module” is a well-known nonce word

that operates as a substitute for means, (2) “frequency down-conversion” fails to connote sufficient

structure, but merely designates the function of translating a frequency, and (3) that the

specification describes this term in functional terms. Opening at 30.

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       Plaintiff contends that TCL makes the same arguments that the Court rejected in the 6-20-

cv-00108 Intel case. Response at 33. Plaintiff contends that this term is not subject to § 112, ¶ 6

because (1) it is presumed not to be because of the absence of “means” and (2) the claims recite

definite structure (e.g., “frequency down-conversion” which receives an “input signal,” receives a

“control signal,” and “outputs a first down-converted signal,” and “wherein said . . . down-

conversion modules each comprise a switch and a storage element”). Id.



The Undersigned’s Analysis:

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

agrees with Plaintiff that this term is not subject to § 112, ¶ 6 and should be construed according

to its plain-and-ordinary meaning for the reasons that follow. First, there is no dispute that the

term does not contain the words “means for” and that the presumption that the term is subject to

§ 112, ¶ 6 concomitantly does not apply. Second, a POSITA would understand that the claim term

describes that the frequency translator “down-converts said input signal,” which would require

using physical components including a switch and capacitor. A POSITA would also understand

that the “control signal” recited in the claim language is used to control the electrical switch. The

surrounding claim language also indicates that the frequency translator is a component within a

physical device. For example, both claims describes that the frequency translator is a component

within a wireless receiver. See, e.g., ’444 Patent, Cl. 2, Lim. [a]. The undersigned finds that this

physical structure is sufficient to prevent the application of § 112, ¶ 6. TEK Glob., 920 F.3d at

786. Third, the surrounding claim language describes the input, output and connections of the

delay module, which describes the structure of the claim term. Apple, 757 F.3d at 1299 (Fed. Cir.

2014) (“Structure may also be provided by describing the claim limitation’s operation, such as its



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input, output, or connections.”). Here, the claim language describes that the input to the frequency

translator is the input signal. See, e.g., ’444 Patent, Cl. 2, Lim. [b] (“wherein said first frequency

down-conversion module down-converts said input signal”). The claim language further describes

that a control signal is an input into the frequency translator. Id. (“wherein said first frequency

down-conversion module down-converts . . . according to a first control signal.”). The claim

language also describes that a frequency translator outputs a down-converted signal into a

subtractor. See, e.g., Id., Cl. 2, Lim. [c]

        Therefore, based on the foregoing, the undersigned recommends that this term is not

subject to § 112, ¶ 6 and that it should be construed according to its plain-and-ordinary meaning.



        O. Term #14: “Under-Sample” / “Under-Samples” / “Under-Sampling”

              Term                       Plaintiff’s Proposed            Defendants’ Proposed
                                            Construction                      Construction
 #14: “Under-Sample” /              “sampling at an                  “sampling at less than or
 “Under-Samples” / “Under-          aliasing rate” or                equal to twice the frequency
 Sampling”                          “sampling at less than           of the input signal”
                                    or equal to twice the
 U.S. Patent No. 6,049,706,         frequency of the input
 Cls. 1, 6, 7, 28; U.S. Patent      signal”
 No. 7,110,444, Cl. 2

 Proposed by ParkerVision


        Judge Albright previously construed this term this in the ParkerVision v. Intel (6-20-cv-

00108 and 6-20-cv-00562) case as being “sampling at an aliasing rate” or “sampling at less than

or equal to twice the frequency of the input signal.”




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The Parties’ Positions:

        The parties agree that the construction of this term should at least include “sampling at less

than or equal to twice the frequency of the input signal.” But the parties dispute whether the

construction of this term should also include “sampling at an aliasing rate.”

        Defendants propose excluding “sampling at an aliasing rate,” as it does not provide insight

for a POSITA, and having two constructions may confuse a jury. Opening at 31.

        Plaintiff contends that Defendants make the same arguments that Judge Albright rejected

in both Intel cases. Response at 3. Plaintiff contends that alternate construction is proper because

it “tracks both the lexicography provided in the patent specifications and [the Middle District of

Florida’s] prior construction of these terms.” Id. at 34 (citing ’551 Patent at 19:45–54; ’444 Patent

at 9:32–38). Plaintiff accuses Defendants of attempting to cherry-pick the construction that best

suits their case. Id.



The Undersigned’s Analysis:

        After reviewing the parties’ arguments and considering the applicable law, the undersigned

agrees with Plaintiff’s position that “sampling at an aliasing rate” should be included for the

reasons that follow. First, the specification of the ’444 Patent appears to equate under-sampling

and “aliasing.” More specifically, the ’444 Patent incorporates the specification of the ’551 Patent.

’444 Patent at 9:32–38. The ’551 Patent describes the relationship between “aliasing” and

“undersampling” as follows: “[w]hen a signal is sampled at less than or equal to twice the

frequency of the signal, the signal is said to be under-sampled, or aliased.” ’551 Patent at 19:49–

51. Because this passage equates under-sampling with aliasing, construing “undersampling” as




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“sampling at an aliasing rate” is technically correct, and Defendants do not appear to contend

otherwise.

       Second, the undersigned is not persuaded by Defendants’ argument that “sampling at an

aliasing rate” provides no insight for a POSITA. Rather, the undersigned find that this phrase

provides a POSITA as much insight as the phrase “sampling at less than or equal to twice the

frequency of the input signal,” which is in both sides’ proposed constructions.

       Third, with respect to Defendants’ argument that two constructions may confuse a jury,

the undersigned agrees with that sentiment and would generally not include this phrase as part of

the undersigned’s recommended construction. But given that Judge Albright and the Middle

District of Florida court included “sampling at an aliasing rate” as part of its construction, and

given that this phrase is technically correct, the undersigned believes it is better to recommend the

same construction in order to align the constructions at the district court level.

       Therefore, based on the foregoing, the undersigned recommends that the construction of

the “under-sample” terms to be “sampling at an aliasing rate” or “sampling at less than or equal to

twice the frequency of the input signal.”



       P. Term #15: “harmonic” / “harmonics”

             Term                       Plaintiff’s Proposed            Defendants’ Proposed
                                            Construction                      Construction
 #15: “harmonic” /                 Harmonic: “A sinusoidal           Harmonic: “A sinusoidal
 “harmonics”                       component of a periodic           component of a periodic
                                   wave that has a frequency         wave that has a frequency
 U.S. Patent No. 6,049,706,        that is an integer multiple of    that is an integer multiple of
 Claims 1, 6–7, 28, 34; U.S.       the fundamental frequency of      the fundamental frequency of
 Patent No. 6,266,518, Claim       the periodic waveform and         the periodic wave”
 1                                 including the fundamental
                                   frequency as the first            Harmonics: “Sinusoidal
 Proposed by ParkerVision          harmonic”                         components of a periodic
                                                                     wave each of which have a

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                                  Harmonics: “A frequency or       frequency that is an integer
                                  tone that, when compared to      multiple of the fundamental
                                  its fundamental or reference     frequency of the periodic
                                  frequency or tone, is an         wave”
                                  integer multiple of it and
                                  including the fundamental
                                  frequency as the first
                                  harmonic”


       Judge Albright previously construed this term in ParkerVision v. Intel (6-20-cv-00108) as

having their plain-and-ordinary meanings, namely:

      Harmonic: “A sinusoidal component of a periodic wave that has a frequency that is an
       integer multiple of the fundamental frequency of the periodic waveform and including the
       fundamental frequency as the first harmonic”
      Harmonics: “A frequency or tone that, when compared to its fundamental or reference
       frequency or tone, is an integer multiple of it and including the fundamental frequency as
       the first harmonic”


The Parties’ Positions:

       The dispute between the parties is whether “the fundamental frequency as the first

harmonic” should be included in the recommended construction. The fundamental frequency is

the frequency of the periodic wave, e.g., the carrier frequency. A harmonic is a frequency that is

a positive integer multiple of the fundamental frequency.

       Defendants contend that the patentee acted as his/her own lexicographer. Opening at 32.

More specifically, Defendants contend that “the ’706 Patent—which the ’518 Patent incorporates

by reference (’518 Patent at 1:14–15, 1:25–27)—expressly defines “Harmonic: A harmonic is a

sinusoidal component of a periodic wave. It has a frequency that is an integer multiple of the

fundamental frequency of the periodic wave.” Id. (citing ’706 Patent at 9:39–47).

       Plaintiff contends that Defendants make the same arguments that Judge Albright rejected

in the -00562 Intel case. Response at 35. Plaintiff also contends that:


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       [H]armonic/harmonics should be construed to include the fundamental frequency
       as a first harmonic in part because: (1) “the lexicography in the specifications
       demonstrates that the ‘fundamental frequency’ is a ‘harmonic;’” and (2) “every
       waveform has a first harmonic (fundamental frequency) as well as additional
       harmonics (second harmonic, third harmonic, and so on) whose frequencies are a
       function of the first harmonic (fundamental frequency).

Id. Plaintiff contends that Defendants’ proposed construction is wrong because Defendants’

purported definition allows for the integer multiple to be 1, which means that the fundamental

frequency is the first harmonic. Id. Plaintiff also points to the rest of the section which recites

“the periodic waveform has a fundamental frequency of ‘f’ (also called the first harmonic).” Id.

(citing ’706 Patent at 9:42–43).



The Undersigned’s Analysis:

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

agrees with Plaintiff’s position that that these terms should be construed according to the above

plain-and-ordinary meanings for at least the reasons that follow. First, the specification expressly

describes the fundamental frequency “as the first harmonic.” ’706 Patent at 9:42–43 (“if the

periodic waveform has a fundamental frequency of ‘f’ (also called the first harmonic).” This

passage directly undercuts Defendants’ argument that the patentee acted as his/her own

lexicographer to define the fundamental frequency as not a harmonic. Furthermore, the use of the

words “also called” indicates that it was known in the art that the fundamental frequency is a

harmonic, the first harmonic. Second, Plaintiff’s proposed construction is entirely consistent with

the passage Defendants contend is a lexicographical statement. More specifically, the allegedly

lexicographical statement that Defendants cite simply states that the frequency of a harmonic is

“an integer multiple” of the fundamental frequency, which is completely consistent with Plaintiff’s




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proposed construction that effectively describes that the fundamental frequency has an integer

multiple to be 1, which means that the fundamental frequency is the first harmonic.

       Third, in addition to the above reasons, given that Judge Albright previously adopted

Plaintiff’s construction, the undersigned believes it is better to recommend the same construction

in order to align the recommended construction with Judge Albright’s previous construction.

       Therefore, based on the foregoing, the undersigned recommends that the construction of

“harmonic” and “harmonics” should be as follows:

      Harmonic: “A sinusoidal component of a periodic wave that has a frequency that is an
       integer multiple of the fundamental frequency of the periodic waveform and including the
       fundamental frequency as the first harmonic”
      Harmonics: “A frequency or tone that, when compared to its fundamental or reference
       frequency or tone, is an integer multiple of it and including the fundamental frequency as
       the first harmonic”


       Q. Term #16: “integral filter/frequency translator to filter and down-convert an
          input signal”

             Term                      Plaintiff’s Proposed            Defendants’ Proposed
                                           Construction                     Construction
 #16: “integral filter/frequency   Plain-and-ordinary meaning       Plain-and-ordinary meaning
 translator to filter and down-    wherein the plain-and-
 convert an input signal”          ordinary meaning is “a circuit
                                   having a unified input filter
 U.S. Patent No. 6,049,706,        and frequency translator.”
 Claim 28

 Proposed by ParkerVision


       Judge Albright previously construed this term this in the ParkerVision v. Intel (6-20-cv-

00562) case as plain-and-ordinary meaning wherein the plain-and-ordinary meaning is “a circuit

having a unified input filter and frequency translator.”




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The Parties’ Positions:

       Defendants contend that the parties agree that plain-and-ordinary meaning should control,

but that Plaintiff’s addition of “wherein the plain-and-ordinary meaning is ‘a circuit having a

unified input filter and frequency translator’” “adds no clarity to the claim language itself, and thus

would only serve to complicate these proceedings.” Opening at 32.

       Plaintiff contends that Defendants fail to address why Judge Albright’s previous construction

is incorrect. Response at 36. Plaintiff argued that the “specification explains that an ‘integrated’

filter and frequency translator simply means that the filter and frequency translator are structurally

‘unified’ so that their operations—filtering/frequency selection and frequency translation—are

performed ‘concurrently.’” Id. (citing ’706 Patent at 13:53–58). Plaintiff also contends that the

specification describes module 1102 in Figures 11 and 12, as follows: (1) “the input filtering

operation performed by the UDF module 1102 is integrated with the frequency translation

operation;” and (2) “the UDF module 1102 performs the frequency selectivity operation and the

frequency translation operation as a single, unified (integrated) operation.” Id. at 36–37 (quoting

’706 Patent at 13:53–58; 14:40–48).



The Undersigned’s Analysis:

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

agrees with Plaintiff’s position that the phrase “wherein the plain-and-ordinary meaning is ‘a

circuit having a unified input filter and frequency translator’” should be added to the recommended

construction for at least the following reasons. First, the parties appear to dispute what the plain-

and-ordinary meaning is. Therefore, to avoid an O2 Micro problem, the undersigned believes that

it is necessary to add the clarifying phrase “wherein the plain-and-ordinary meaning is ‘a circuit



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having a unified input filter and frequency translator’” to a plain-and-ordinary meaning

construction. O2 Micro, 521 F.3d at 1361.

       Second, the clarifying phrase may be helpful for a lay jury to understand and apply the

meaning of the claim term. Sulzer Textil A.G. v. Picanol N.V., 358 F.3d 1356, 1366 (Fed. Cir.

2004) (“The district court simply must give the jury guidance that can be understood and given

effect by the jury once it resolves the issues of fact which are in dispute.”). Here, a jury may

wonder whether the word “integral” means “unified” or what it means “necessary.” But the

specification makes clear that “integral” means “unified.” ’706 Patent at 14:40–48 (“Specifically,

according to the present invention, the UDF module 1102 performs the frequency selectivity

operation and the frequency translation operation as a single, unified (integrated) operation.”)

(emphasis added).

       Third, in addition to the above reasons, given that Judge Albright previously adopted

Plaintiff’s construction, the undersigned believes it is better to recommend the same construction

in order to align the recommended construction with Judge Albright’s previous construction.

       Therefore, based on the foregoing, the undersigned recommends that the construction of

the “integral filter/frequency translator to filter and down-convert an input signal” should be the

plain-and-ordinary meaning wherein the plain-and-ordinary meaning is “a circuit having a unified

input filter and frequency translator.”



       R. Term #17: “modulated signal” / “modulated carrier signal”

             Term                       Plaintiff’s Proposed          Defendants’ Proposed
                                           Construction                    Construction
 #17: “modulated signal” /         “an electromagnetic signal at   Plain-and-ordinary meaning
 “modulated carrier signal”        a transmission frequency
                                   having at least one
                                   characteristic that has been

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 U.S. Patent No. 6,049,706,        modulated by a baseband
 Claim 127; U.S. Patent No.        signal”
 8,660,513, Claim 19; U.S.
 Patent No. 9,118,528, Claims
 1, 5; U.S. Patent No.
 9,246,736, Claims 1, 11, 15;
 U.S. Patent No. 9,444,673,
 Claims 1, 2, 7, 13, 19

 Proposed by ParkerVision


       Judge Albright previously construed “modulated carrier signal” in the ParkerVision v. Intel

(6-20-cv-00108) and “modulated signal” in the ParkerVision v. Intel (6-20-cv-00562) cases as “an

electromagnetic signal at a transmission frequency having at least one characteristic that has been

modulated by a baseband signal.”



The Parties’ Positions:

       Defendants contend that the parties agree that the plain-and-ordinary meaning should

control. Opening at 33. Defendants also contend that Plaintiff’s proposed construction vitiates

the meaning of “carrier.” Id.

       Plaintiff contends that Defendants do not explain why Judge Albright’s previous construction

is incorrect and what the plain-and-ordinary meaning is. Response at 37. Plaintiff contends that its

proposed construction is taken directly from the specification. Id. at 38. In particular, Plaintiff

points to ’528 Patent at 20:58–60 (“The term modulated carrier signal, when used herein, refers to

a[n] earlier signal that is modulated by a baseband signal.”), 2:18–22 (“Modulation refers to a

variety of techniques for impressing information from the baseband signals onto the higher

frequency carrier signals. The resultant signals are referred to herein as modulated carrier

signals.”), 21:33–35 (“The term carrier signal, when used herein, refers to an EM wave having at


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least one characteristic that may be varied by modulation, that is capable of carrying information

via modulation.”). Id.



The Undersigned’s Analysis:

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

recommends a plain-and-ordinary meaning wherein the plain-and-ordinary meaning is Plaintiff’s

proposed construction for the reasons that follow.        First, this construction is based on the

specification and makes clear that the modulation is of at least one characteristic of the

electromagnetic wave. ’528 Patent at 20:58–60, 21:33–35. Second, the undersigned disagrees

with Defendants that this construction “vitiates” carrier. More specifically, when the signal is the

carrier signal, the carrier signal is the electromagnetic signal. Third, in addition to the above

reasons, given that Judge Albright previously adopted Plaintiff’s construction, the undersigned

believes it is better to recommend the same construction in order to align the recommended

construction with Judge Albright’s previous construction.

       Therefore, based on the foregoing, the undersigned recommends that the construction of

the “integral filter/frequency translator to filter and down-convert an input signal” should be plain-

and-ordinary meaning wherein the plain-and-ordinary meaning is “an electromagnetic signal at a

transmission frequency having at least one characteristic that has been modulated by a baseband

signal.”



       S. Term #18: “universal frequency downconverter (UFD)”

             Term                       Plaintiff’s Proposed            Defendants’ Proposed
                                            Construction                     Construction
 #18: “universal frequency         “circuitry that generates a       Plain-and-ordinary meaning
 downconverter (UFD)”              down converted output signal

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                                   from an input signal from a
 U.S. Patent No. 6,266,518,        wide range of
 Claim 50                          electromagnetic frequencies”

 Proposed by ParkerVision


       Judge Albright previously construed “modulated carrier signal” in the ParkerVision v. Intel

(6-20-cv-00108) case as “circuitry that generates a down converted output signal from an input

signal from a wide range of electromagnetic frequencies.”



The Parties’ Positions:

       Defendants contend that the claim recites that a UFD includes a switch, integrator coupled

to said switch, and a pulse generator. Opening at 33. Defendants further contend that even a lay

juror will understand all of those terms. Id.

       Defendants also argue that Plaintiff’s proposed construction is “unnecessary and

contradicts the intrinsic evidence” in several ways. Id. First, Plaintiff’s proposed construction

substitutes “circuitry,” which is open-ended when the claim recites specific components (switch,

integrator, and generator). Id. Second, there is no basis for Plaintiff’s proposed construction to

require that every UFD generate an “output signal” as some devices may further process or filter

the signal produced by the UFD before generating the ultimate output signal. Id. Third, the claim

language requires that the UFD produce a “lower frequency signal,” not an “output signal.” Id.

Fourth, Defendants contend that there is no reason to refer to an “input signal” because the claim

itself refers to a “carrier signal.” Id. Fifth, Defendants contend that there is no reason to refer to

a “wide range” of frequencies when the claim recites “down-converting a carrier signal to a lower

frequency signal,” but is silent as to any “wide range” of frequencies. Id. at 33–34.



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       Plaintiff contends that this term needs to be construed because the word “universal” may

confuse a jury. Response at 38. Plaintiff contends that this simply means that the UFD can convert

a “number of different frequencies.” Id. at 38–39

       Plaintiff responds to the arguments that its proposed construction is “unnecessary and

contradicts the intrinsic evidence” as follows. First, Plaintiff responds that the “UFD comprises

‘circuitry,’ and the claim language then sets forth the specific circuitry.” Response at 39. Second,

Plaintiff contends that the devices “are still ‘generating the ultimate output signal.’” Id. (emphasis

in original). Third and fourth, Plaintiff contends the discussion of the “carrier signal” and “lower

frequency signal” “pertains to the apparatus, but not the UFD specifically.” Id. at 40 (emphasis

in original). Fifth, Plaintiff contends that a “wide range of frequencies” is necessary to give

meaning to the word “universal.” Id.



The Undersigned’s Analysis:

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

recommends adopting Plaintiff’s proposed construction for the reasons that follow. First, the

parties’ constructions fundamentally differ regarding whether it is necessary to provide

clarification as to what “universal” means. The undersigned believes that providing a construction

to clarify the meaning of “universal” would be helpful for a jury as a lay jury may not understand

in what way a frequency down-converter is “universal.” Second, the undersigned does not agree

with Defendants argument that Plaintiff’s construction is “unnecessary and contradicted by the

intrinsic evidence.” Rather, the undersigned finds the Plaintiff’s counter more persuasive. Third,

in addition to the above reasons, given that Judge Albright previously adopted Plaintiff’s




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construction, the undersigned believes it is better to recommend the same construction in order to

align the recommended construction with Judge Albright’s previous construction.

       Therefore, based on the foregoing, the undersigned recommends that the construction of

the “universal frequency down-converter (UFD)” should be “circuitry that generates a down-

converted output signal from an input signal from a wide range of electromagnetic frequencies.”



       T. Term #19: [wherein said storage elements comprises] “a capacitor that reduces a
          DC offset voltage in said first-down converted signal and said second down
          converted signal”

             Term                     Plaintiff’s Proposed            Defendants’ Proposed
                                          Construction                     Construction
 #19: [wherein said storage      Plain-and-ordinary meaning       [wherein said storage
 elements comprises] “a          wherein the “a capacitor” in     elements comprises] “a
 capacitor that reduces a DC     each of the storage elements     capacitor that reduces a DC
 offset voltage in said first-   reduces a DC offset voltage      offset voltage in both said
 down converted signal and       in the corresponding down-       first down-converted signal
 said second down converted      converted signal                 and said second down-
 signal”                                                          converted signal

 U.S. Patent No. 7,110,444,
 Claim 4

 Proposed by ParkerVision


       Judge Albright previously construed this term in the ParkerVision v. Intel (6-20-cv-00108)

case as plain-and-ordinary meaning wherein the “‘a capacitor’ in each of the storage elements

reduces a DC offset voltage in the corresponding down-converted signal.”



The Parties’ Positions:

       Defendants contend that Plaintiff’s proposed construction—which expressly recites that

there is a capacitor in both the first and second storage elements—is incorrect because the “plain


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language of this term requires a single capacitor.” Opening at 34. Defendants contend that there

is no basis for the Court to re-write this claim as ParkerVision proposes. Id.

       Plaintiff contends that Defendants’ proposed construction is incorrect because it

improperly requires a reduction in the DC offset voltage in “both” down-converted signals when

the claim language only requires a reduction in “a” DC offset voltage. Response at 41. Plaintiff

further contends that its construction is consistent with independent claim 3 and Figure 70A. Id.

More specifically, Claim 4 depends on Claim 3 which recites, in part, “wherein said first and said

second frequency down-conversion modules each comprise a switch and a storage element.” Id.

Figure 70A likewise shows a capacitor is used for each of the first and second down-converted

signals (capacitor 7078 and capacitor 7080).




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The Undersigned’s Analysis:

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

recommends adopting Plaintiff’s proposed construction for the reasons that follow. First, based

on the claim language of Claims 3 and 4, a POSITA would understand that there is a capacitor

associated with each down-converting signal. Claims 3 and 4 provide:

       3. A wireless modem apparatus, comprising:
          [a] a receiver for frequency down-converting an input signal including,
          [b] a first frequency down-conversion module to down-convert the input signal,
              wherein said first frequency down-conversion module down-converts said input
              signal according to a first control signal and outputs a first down-converted signal;
          [c] a second frequency down-conversion module to down-convert said input signal,
              wherein said second frequency down-conversion module down-converts said input
              signal according to a second control signal and outputs a second down-converted
              signal; and
          [d] a subtractor module that subtracts said second down-converted signal from said
              first down-converted signal and outputs a down-converted signal;
          [e] wherein said first and said second frequency down-conversion modules each
              comprise a switch and a storage element.
       4. The apparatus of claim 3, wherein said storage elements comprises a capacitor that
          reduces a DC offset voltage in said first down-converted signal and said second down-
          converted signal.

       Claim 3 requires two down-conversion modules, i.e., the first and second down-conversion

modules. ’444 Patent, Cl. 3, Lims. [b], [c]. Each down-conversion module outputs a down-

converted signal, and the two down-converted signals are then subtracted. Id., Lim. [d]. Each

down-conversion module comprises a storage element. Id., Lim. [e]. Claim 4 further requires that

“said storage elements comprises a capacitor that reduces a DC offset voltage.” Id., Cl. 4.

       Based on these limitations, a POSITA would understand that the two down-conversion

modules are parallel circuits that have a common input and whose respective outputs are combined

together (via subtraction). By contrast, a POSITA would not understand that there is any cross-

connection between the common input and when the two down-converted signals are subtracted.

As such, because the two down-conversion modules are in parallel, each signal is independently

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down-converted by each down-conversion module, i.e., without being processed by the other

down-conversion module.

       Given that Claim 3 recites parallel and separate down-conversation modules, a POSITA

would likewise not understand that Claim 4 recites that a single capacitor is shared by both parallel

down-conversion modules. Rather, given that Claim 4 recites that the storage modules comprise

a capacitor and given that Claim 3 recites storage modules that are parallel, a POSITA would

understand that Claim 4 recites two capacitors, one for each storage module.

       Second, the recommended construction matches the embodiment depicted in Figure 70A

which shows a capacitor is used for each of the first and second down-converted signals.

       Third, in addition to the above reasons, given that Judge Albright previously adopted

Plaintiff’s construction, the undersigned believes it is better to recommend the same construction

in order to align the recommended construction with Judge Albright’s previous construction.

       Therefore, based on the foregoing, the undersigned recommends that the construction of

the “[wherein said storage elements comprises] ‘a capacitor that reduces a DC offset voltage in

said first-down converted signal and said second down converted signal’” should be plain-and-

ordinary meaning wherein the “‘a capacitor’ in each of the storage elements reduces a DC offset

voltage in the corresponding down-converted signal.”



       U. Term #20: “DC offset voltage”

             Term                      Plaintiff’s Proposed             Defendants’ Proposed
                                          Construction                      Construction
 #20: “DC offset voltage”         Plain-and-ordinary meaning        Plain-and-ordinary meaning
                                  wherein the plain-and
 U.S. Patent No. 7,110,444,       ordinary meaning is “the
 Claim 4                          difference between the DC
                                  voltage of a signal and a
 Proposed by ParkerVision

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                                  reference voltage, e.g.,
                                  ground”


       Judge Albright previously construed this term in the ParkerVision v. Intel (6-20-cv-00108)

case as plain-and-ordinary meaning wherein the plain-and-ordinary meaning is “the difference

between the DC voltage of a signal and a reference voltage, e.g., ground.”



The Parties’ Positions:

       Defendants contend that the parties agree that the plain-and-ordinary meaning should

control, but that Plaintiff’s addition of “wherein the plain-and-ordinary meaning is ‘the difference

between the DC voltage of a signal and a reference voltage, e.g., ground’” adds no clarity to the

claim language. Opening at 35.

       Plaintiff contends that its proposed construction is consistent with the specification.

Response at 41 (citing ’444 Patent at 42:59–63). Plaintiff further contends that Defendants do not

explain why Judge Albright’s previous construction is incorrect. Id. at 42.



The Undersigned’s Analysis:

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

recommends adopting Plaintiff’s proposed construction for the reasons that follow. First, the

parties appear to dispute what the plain-and-ordinary meaning is. Therefore, to avoid an O2 Micro

problem, the undersigned believes that it is necessary to add the clarifying phrase “wherein the

plain-and ordinary meaning is ‘the difference between the DC voltage of a signal and a reference

voltage, e.g., ground’” to a plain-and-ordinary meaning construction. O2 Micro, 521 F.3d at 1361.




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       Second, the clarifying phrase may be helpful for a lay jury to understand and apply the

meaning of the claim term. Sulzer Textil, 358 F.3d at 1366. Here, while a POSITA would

understand the meaning of this claim term, a lay jury would likely not. Therefore, adding the

clarifying phrase will help a jury understand the meaning of this term, which will help them apply

it.

       Third, in addition to the above reasons, given that Judge Albright previously adopted

Plaintiff’s construction, the undersigned believes it is better to recommend the same construction

in order to align the recommended construction with Judge Albright’s previous construction.

       Therefore, based on the foregoing, the undersigned recommends that the construction of

the “DC offset voltage” should be plain-and-ordinary meaning wherein the plain-and ordinary

meaning is “the difference between the DC voltage of a signal and a reference voltage, e.g.,

ground.”



       V. Term #21: “sampling aperture”

              Term                      Plaintiff’s Proposed             Defendants’ Proposed
                                           Construction                      Construction
 #21: “sampling aperture”          “a period of time during           “a period of time during
                                   which the switch is in its         which the switch is in its
 U.S. Patent No. 8,660,513,        closed (i.e., on) state”           closed (i.e., on) state as part
 Claim 19; U.S. Patent No.                                            of the process of reducing a
 9,118,528, Claim 1; U.S.                                             continuous-time signal to a
 Patent No. 9,246,736, claims                                         discrete-time signal”
 1, 11; U.S. Patent No.
 9,444,673, Claims 13, 17, 19

 Proposed by ParkerVision


       Judge Albright previously construed this term in the ParkerVision v. Intel (6-20-cv-00108)

case as “a period of time during which the switch is in its closed (i.e., on) state.”


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The Parties’ Positions:

       The dispute is whether “as part of the process of reducing a continuous-time signal to a

discrete-time signal” should be included in the final construction. Opening at 35. Defendants

contend that the patents “make clear that closing a switch alone is not sufficient to sample an

electromagnetic signal.” Id. Defendants contend that the construction should also include when

the switch is open among other things. Id.

       Plaintiff contends that Defendants do not explain why Judge Albright’s previous

construction is incorrect. Response at 42. Plaintiff contends that Defendants’ additional limitation

is purposefully vague. Id. at 42–43. Plaintiff further contends that the term being construed is the

sampling aperture and not the energy sampling process. Id. at 43.



The Undersigned’s Analysis:

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

recommends adopting Plaintiff’s proposed construction for the reasons that follows. First, as

described above in Section II, the sampling aperture simply is the duration of time when the switch

is closed. Plaintiff’s proposed construction captures that understanding. On the other hand,

Defendants’ argument that the construction of this term should include when the switch is open,

appears to be redundant. More specifically, the fact that the sampling aperture is the period of

time that the switch is closed also necessarily implies that the switch is open outside of the duration

of the sampling aperture. As such, Defendants’ argument that the construction should also recite

that the sampling aperture excludes the time when the switch is open is redundant.

       Second, the undersigned finds that the disputed portion of Defendants’ proposed

construction—“as part of the process of reducing a continuous-time signal to a discrete-time



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signal”—is incorrect as it improperly narrows the scope of the term. More specifically, a sampling

aperture describes the amount of time that a switch is closed. A switch with a specific sampling

aperture may be used as part of a circuit that is used to take discrete-time samples of a continuous

signal, but the time a switch is closed does not only become a sampling aperture because it is used

as part of a continuous-time sampling circuit.

        Third, in addition to the above reasons, given that Judge Albright previously adopted

Plaintiff’s construction, the undersigned believes it is better to recommend the same construction

in order to align the recommended construction with Judge Albright’s previous construction.

        Therefore, based on the foregoing, the undersigned recommends that the construction of

the “sampling aperture” should be “a period of time during which the switch is in its closed (i.e.,

on) state.”



        W. Term #22: “switch” / “switching device” / “switching module” / “switch module”

              Term                     Plaintiff’s Proposed            Defendants’ Proposed
                                          Construction                     Construction
 #22: “switch” / “switching       Plain-and-ordinary meaning       Plain-and-ordinary meaning
 device” / “switching module”     wherein the plain-and-
 / “switch module”                ordinary meaning is “an
                                  electronic device for opening
 U.S. Patent No. 6,049,706,       and closing a circuit as
 Claims 105, 107, 109, 111,       dictated by an independent
 114, 115, 164, 165, 166, 168,    control input”
 175, 176, 179, 186, 187, 190;
 U.S. Patent No. 6,266,518,
 Claim 50; U.S. Patent No.
 6,580,902, Claim 1; U.S.
 Patent No. 7,110,444, Claim
 3; U.S. Patent No. 7,292,835,
 Claims 18, 19, 20; U.S.
 Patent No. 8,588,725, Claim
 1; U.S. Patent No. 8,660,513,
 Claim 19; U.S. Patent No.
 9,118,528, Claims 1, 5, 8, 17;

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 U.S. Patent No. 9,246,736,,
 claims 1, 11, 15, 21, 26, 27;
 U.S. Patent No. 9,444,673,
 Claims 1, 6, 7, 13, 17, 18

 Proposed by ParkerVision


       Judge Albright previously construed this term in both ParkerVision v. Intel cases as plain-

and-ordinary meaning wherein the plain-and-ordinary meaning is “an electronic device for

opening and closing a circuit as dictated by an independent control input.”



The Parties’ Positions:

       Defendants contend that the parties agree that plain-and-ordinary meaning should control,

but that Plaintiff’s addition of “an independent control input” is problematic because “doing so

creates tangential questions of fact (e.g., what qualifies a control input as ‘independent’?) that will

only complicate the proceedings and potentially confuse the jury.” Opening at 36.

       Plaintiff contends that the specification discloses “an independent control signal. Response

at 44 (citing ’518 Patent at Figures 73, 74, 76A-E, 82A-B, 95, and at 66:24-26, 106:16-18, and

107:9-11). Plaintiff also points out that the court in the Middle District of Florida adopted this

construction. Id.



The Undersigned’s Analysis:

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

recommends adopting Plaintiff’s proposed construction for the reasons that follow. First, the

parties appear to dispute what the plain-and-ordinary meaning is. Therefore, to avoid an O2 Micro

problem, the undersigned believes that it is necessary to add the clarifying phrase “wherein the


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plain-and-ordinary meaning is ‘an electronic device for opening and closing a circuit as dictated

by an independent control input’” to a plain-and-ordinary meaning construction. O2 Micro, 521

F.3d at 1361.

       Second, in addition to the above reasons, given that Judge Albright previously adopted

Plaintiff’s construction, the undersigned believes it is better to recommend the same construction

in order to align the recommended construction with Judge Albright’s and the Middle District of

Florida court’s previous construction.

       Therefore, based on the foregoing, the undersigned recommends that the construction of

the “switch” / “switching device” / “switching module” / “switch module” should be plain-and-

ordinary meaning wherein the plain-and-ordinary meaning is “an electronic device for opening

and closing a circuit as dictated by an independent control input.”



       X. Term #23: “a down-converted signal being generated from said sampled energy”

                Term                     Plaintiff’s Proposed            Defendants’ Proposed
                                            Construction                     Construction
 #23: “a down-converted           “a lower frequency signal           “a down-converted signal
 signal being generated from      formed from sampled energy          being created from sampled
 said sampled energy”             transferred from the                energy stored in the energy
                                  electromagnetic signal when         storage module”
 U.S. Patent No. 6,580,902,       the switch module is closed
 Claim 1                          and from sampled energy
                                  discharged from the storage
 Proposed by ParkerVision         module when the switch
                                  module is open”


       Judge Albright previously construed this term in the ParkerVision v. Intel (6-20-cv-00108)

case as “a lower frequency signal formed from sampled energy transferred from the

electromagnetic signal when the switch module is closed and from sampled energy discharged

from the storage module when the switch module is open.”

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The Parties’ Positions:

       Defendants contend that the down-converted signal is created from the “sampled energy”

obtained by the “energy storage module,” and not from any other energy source, e.g., the input

signal. Opening at 37 (citing ’902 Patent at Fig. 65). Defendants contend that Plaintiff’s proposed

construction describing that the down-converted signal is generated both when the switch is open

(from the energy storage module) and closed (from the input signal) contradicts the claim language

because there is no basis that the down-converted signal be generated from two places. Id. at 38.

       Defendant further contends that Plaintiff should be collaterally estopped from redefining

that “generating” requires “discharging.” Id. More specifically, Defendants argue that the Federal

Circuit noted that the Middle District of Florida court rejected this argument (for another patent

(and for another term) and that Plaintiff did not challenge that holding on appeal). Id.; see also

Reply at 16. At minimum, Defendants contend that the Middle District of Florida court’s judgment

should have some persuasive effect. Opening at 38; see also Reply at 16.

       Defendants point to Claim 1 of the related patent (’673 Patent) which recites “the

demodulated baseband signal is generated from (i) the accumulating of the energy transferred to

the capacitor each time the switch is closed and (ii) the discharging of said some of the previously

accumulated energy into the load circuitry each time the switch is opened.” Opening at 38–39;

see also Reply at 16–17. Defendants contend that if the patentees had wanted to include that

limitation in this case, they could have done so. Opening at 39; see also Reply at 16–17.

       In its response, Plaintiff contends that its proposed construction is consistent with the

intrinsic evidence shown in Figures 82B, 83E, 57A–F, and 89:46–56. Response at 44.

       With respect to Defendants’ argument that the claim language does not describe that the

down-converted signal is generated when the switch is both open and closed, Plaintiff contends



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that Defendants are wrong because the down-converted signal is generated based on when the

switch is on (e.g., capacitor charges) and when it is off (e.g., capacitor discharges). Id. at 45.

         With respect to Defendants’ collateral estoppel argument, Plaintiff contends that the that

Middle District of Florida court did not construe this term, but rather construed “means for

generating the baseband signal from the integrated energy.” Id. Plaintiff contends that “integrated

energy” and “sampled energy” are two different terms with different meanings. Id. More

specifically, the former is energy from the capacitor, while the latter is broader as its energy both

from the capacitor and the input signal. Id.

         In its reply, with respect to its argument that the claim language does not describe that the

down-converted signal is generated when the switch is both open and closed, Defendants contend

that Claim 1 recites “to obtain sampled energy, said sampled energy being stored by said energy

storage module, a down-converted signal being generated from said sampled energy.” Reply at

15. Defendants contend that all three recitations of “sampled energy” are the same thing. Id. at

15–16.

         With respect the Defendants’ argument in its reply, Plaintiff contends that Defendants omit

critical language from the claim (underlined) while focusing on the italicized language:

         An energy transfer module having a switch module and an energy storage module,
         said energy transfer module sampling the electromagnetic signal at an energy
         transfer rate, according to an energy transfer signal, to obtain sampled energy, said
         sampled energy being stored by said energy storage module, a down-converted
         signal being generated from said sampled energy.

Sur-Reply at 15 (quoting ’902 Patent at 134:56–64). Plaintiff contends that “[b]y doing so,

Defendants try to hide the fact that the sampled energy is what comes off of the switch module

and is not just the energy stored in the storage module.” Id. Plaintiff contends that sampled energy

is what comes off from the switch module and not just the energy stored in the storage module.



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Id. at 15–16. Plaintiff explains how the sample energy could come from two sources, depending

on whether the switch is open or closed:

       Two things happen to the sampled energy when the switch module is ON (closed):
       (1) some of the energy passes through to a low impedance load, and (2) some of the
       energy is stored in a storage module. When the switch module is OFF (opened), the
       energy in the storage module is subsequently discharged to a low impedance load. As
       such, the sampled energy that passes through to the load from the switch module and
       the sampled energy stored in the storage module are both used to generate a down-
       converted signal.

Id. at 16 (emphasis in original).

       Finally, Plaintiff contends that “the only way that sampled energy stored in a storage

module is used to generate a down-converted signal is for that energy to be discharged from the

storage module – not merely used to create the down-converted signal as Defendants assert.” Id.

at 16–17.



The Undersigned’s Analysis:

       The dispute between the parties is whether the “down-converted signal” is generated from

“sampled energy stored in the energy storage module” alone when the switching module is open

(Defendants’ position) or whether it also includes “sampled energy transferred from the

electromagnetic signal” when the switching module is closed (Plaintiff’s position).

       After reviewing the parties’ arguments and considering the applicable law, the undersigned

recommends adopting Plaintiff’s proposed construction for the reasons that follow. First, the

specification makes it clear that the switch module generates the sample that forms part of the

down-converted signal when the switch is closed and then the “sampled energy” is at least partially

discharged which forms another part of the down-converted signal when the switch is open. For

example, Figure 57E depicts a demodulated baseband signal 5712, which is generated by the

down-conversion process. ’902 Patent at 89:38–39.

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The specification recites that demodulated baseband signal 5712 consists of two portions, 5710A

and 5710B. Id. at 89:46–49. Portion 5710A is the part of the down-conversion signal which

correlates with the energy transfer pulses 5707 in Figure 57C. Id. at 89:46–47. Portion 5710B is

the part of the down-conversion signal which correlates with the time between energy transfer

pulses 5707 in Figure 57C. Id. at 89:48–49. The energy transfer pulses represent the times when

the switching module is closed. Id. at 89:52–53, 89:55–56; see also id. at 89:20–25.

       When the switching module is open, the down-converted signal represented by portion

5710B decays in value because the charge that was stored in the storage module discharges through

the load impedance. By contrast, when the switching module is closed, the value of the down-

converted signal represented by portion 5710A increases in value because sampled energy is

transferred from the input signal to the down-converted signal.

       Therefore, this explanation of Figure 57 shows that down-converted signal 5712 is a lower

frequency signal formed [1] from sampled energy transferred from the electromagnetic signal

when the switch module is closed (portion 5712A) and [2] from sampled energy discharged from

the storage module when the switch module is open (portion 5712B), which is accurately captured

by Plaintiff’s proposed construction.




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       Second, the undersigned agrees with Plaintiff that collateral estoppel does not apply as

“sampled energy” is a distinct term with a different meaning than “integrated energy.” In other

words, because the dispute in the prior Middle District of Florida case is different than the instant

cases, collateral estoppel does not apply.

       Third, in addition to the above reasons, given that Judge Albright previously adopted

Plaintiff’s construction, the undersigned believes it is better to recommend the same construction

in order to align the recommended construction with Judge Albright’s previous construction.

       Therefore, based on the foregoing, the undersigned recommends that the construction of

the term “a down-converted signal being generated from said sampled energy” should be “a lower

frequency signal formed from sampled energy transferred from the electromagnetic signal when

the switch module is closed and from sampled energy discharged from the storage module when

the switch module is open.”



V.     CONCLUSION

       For the reasons described herein, the undersigned recommends that the Court adopt the

following recommended constructions.

       Pursuant to the Order Appointing Special Master (No. 6-20-cv-00870, ECF No. 47 and No.

6-20-cv-00945, ECF No. 45), the parties may, in a manner mirroring Federal Rule of Civil

Procedure 72 and 28 U.S.C. § 636, file timely objections to any of the findings, conclusions, and

recommendations contained in this Report.




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SIGNED on the 29th day of August, 2022.




                                          Joshua J. Yi, Ph.D.




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   I.      Level of ordinary skill in the art

             Plaintiff’s Proposal                          Defendants’ Proposal                   Special Master’s Recommendation
 (i) a Bachelor of Science degree in            At least an undergraduate degree in           A Bachelor of Science degree in electrical
 electrical or computer engineering (or a       electrical engineering or a related subject   engineering (or an equivalent degree) and
 related academic field), and at least two 2    and two or more years of experience in        at least two additional years of experience
 additional years of experience in the          the fields of communication systems,          in the design and development of radio
 design and development of radio                signal processing and/or RF circuit design    frequency circuits and/or systems. Less
 frequency circuits and/or systems or (at       Less work experience may be                   experience may be compensated by a
 least five 5 years of experience and           compensated by a higher level of              higher level of education, such as a
 training in the design and development of      education, such as a master’s degree          master’s degree.
 radio frequency circuits and/or systems



   II.     Disputed constructions

Note: The Court previously construed the shaded terms in ParkerVision v. Intel (6-20-cv-00108 and 6-20-cv-00562).

              Term                      Plaintiff’s Proposed              Defendants’ Proposed                  Special Master’s
                                           Construction                        Construction              Recommended Construction
 #1: “low impedance load”          Plain-and-ordinary meaning         Indefinite                         Not indefinite. Plain-and-
                                                                                                         ordinary meaning.
 U.S. Patent No. 9,246,736,
 Claims 26, 27; 9,444,673,
 Claim 5

 Proposed by TCL




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            Term                     Plaintiff’s Proposed         Defendants’ Proposed          Special Master’s
                                        Construction                   Construction      Recommended Construction
#2: “said energy discharged     Plain-and-ordinary meaning    Indefinite                 Not indefinite. Plain-and-
from said capacitor provides                                                             ordinary meaning.
sufficient power to drive the
low impedance load”

U.S. Patent No. 9,444,673,
Claim 5

Proposed by TCL




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            Term                        Plaintiff’s Proposed            Defendants’ Proposed                  Special Master’s
                                            Construction                     Construction              Recommended Construction
#3: “Storage” terms               Energy storage element /          “an apparatus that stores non-    Energy storage element /
                                  storage element: “an element      negligible amounts of energy      storage element: “an element
U.S. Patent No. 6,049,706,        of an energy transfer system      from the carrier signal.”         of an energy transfer system
Claims 105, 114, 115, 164,        that stores non-negligible                                          that stores non-negligible
166, 168, 175, 179, 186, 190;     amounts of energy from an         (all terms are indefinite under   amounts of energy from an
U.S. Patent No. 6,580,902,        input electromagnetic signal      ParkerVision’s proposed           input electromagnetic signal.”
Claim 1; U.S. Patent No.          for driving a low impedance       constructions)
7,110,444, Claim 3; U.S.          load.”                                                              Energy storage module /
Patent No. 7,292,835, Claims                                                                          storage module: “a module of
1, 18, 20; U.S. Patent No.        Energy storage module /                                             an energy transfer system that
8,588,725, Claims 1, 6, 17, 18,   storage module: “a module of                                        stores non-negligible amounts
19; U.S. Patent No. 8,660,513,    an energy transfer system that                                      of energy from an input
Claim 19; U.S. Patent No.         stores non-negligible amounts                                       electromagnetic signal.
9,118,528, Claims 1, 9; U.S.      of energy from an input
Patent No. 9,246,736, Claims      electromagnetic signal for                                          Energy storage device: “a
1, 11, 21, 26, 27; U.S. Patent    driving a low impedance load.                                       device of an energy transfer
No. 9,444,673, Claims 13, 17,                                                                         system that stores non-
18                                Energy storage device: “a                                           negligible amounts of energy
                                  device of an energy transfer                                        from an input electromagnetic
Proposed by ParkerVision          system that stores non-                                             signal.”
                                  negligible amounts of energy
                                  from an input electromagnetic
                                  signal for driving a low
                                  impedance load.”




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            Term                       Plaintiff’s Proposed         Defendants’ Proposed                 Special Master’s
                                          Construction                   Construction             Recommended Construction
#4: “voltage of the input         Plain-and-ordinary meaning    Indefinite                        Not indefinite. Plain-and-
modulated carrier signal is not                                                                   ordinary meaning.
reproduced or approximated at
the capacitor during the
apertures or outside of the
apertures”

U.S. Patent No. 9,444,673,
Claim 2

Proposed by TCL

#5: “a down-convert and delay     Not subject to 35 U.S.C.      Subject to 35 U.S.C.              Not subject to 35 U.S.C.
module to under-sample an         § 112, ¶ 6                    § 112, ¶ 6.                       § 112, ¶ 6.
input signal to produce an
input sample of a down-           Plain-and-ordinary meaning    Function: “under-sample an        Plain-and-ordinary meaning
converted image of said input                                   input signal according to a
signal, and to delay said input                                 control signal to produce an
sample”                                                         input sample of a down-
                                                                converted image of said input
U.S. Patent No. 6,049,706,                                      signal, and to delay said input
Claims 1, 7                                                     sample”

Proposed by TCL                                                 Structure: “the down-convert
                                                                and delay module 2624 in Fig.
                                                                26 and described at 26:1–27:21
                                                                and 28:2041, that includes the
                                                                switches 2650 and 2654, and
                                                                the capacitors 2652 and 2656;
                                                                and equivalents thereof”


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            Term                   Plaintiff’s Proposed         Defendants’ Proposed               Special Master’s
                                       Construction                  Construction           Recommended Construction
#6: “delay module” terms      Not subject to 35 U.S.C.      Subject to 35 U.S.C.            Not subject to 35 U.S.C.
                              § 112, ¶ 6.                   § 112, ¶ 6.                     § 112, ¶ 6.
U.S. Patent No. 6,049,706,
Claims 1, 7, 34, 140          Plain-and-ordinary meaning    Function: “delay instances      Plain-and-ordinary meaning
                                                            of an output signal / further
Proposed by TCL                                             delay one or more of said
                                                            delayed and down-converted
                                                            input samples”

                                                            Structure: “structure
                                                            including “first delay
                                                            module 2628,” “second
                                                            delay module 2630” shown
                                                            in Fig 26, “delay module
                                                            3204” shown in Fig. 32 and
                                                            described at 35:118; the
                                                            sample and hold circuit
                                                            4501 and 4503 in Fig. 45
                                                            and described at 32:44–
                                                            33:19; or an analog delay
                                                            line having a combination of
                                                            capacitors, inductors and/or
                                                            resistors described at 35:19–
                                                            27; or equivalents thereof”




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             Term                      Plaintiff’s Proposed             Defendants’ Proposed                Special Master’s
                                          Construction                       Construction            Recommended Construction
#7: “said control signal          Plain-and-ordinary meaning        Indefinite                       Not indefinite. Plain-and-
comprises a train of pulses                                                                          ordinary meaning.
having pulse widths that are
established to improve energy
transfer from said input signal
to said down-converted
image”

U.S. Patent No. 6,049,706,
Claim 2

Proposed by TCL

#8: “means for under-sampling     Subject to § 112, ¶ 6.            Subject to § 112, ¶ 6.           Subject to § 112, ¶ 6.
an input signal to produce an
input sample of a down-           Function: under-sampling an       Function: “under-sampling an     Function: under-sampling an
converted image of said input     input signal to produce an        input signal to produce an       input signal to produce an
signal”                           input sample of a down-           input sample of a down-          input sample of a down-
                                  converted image of the input      converted image of said input    converted image of said input
U.S. Patent No. 6,049,706,        signal and under-sampling the     signal and under-sampling the    signal and under-sampling the
Claim 6                           input signal according to a       input signal according to a      input signal according to a
                                  control signal                    control signal”                  control signal
Proposed by TCL
                                  Structure: switch 2650 in         Structure: “the switch 2650      Structure: the switch 2650
                                  Fig. 26; switch 5308 in Figs.     and the capacitor 2652 in Fig.   and the capacitor 2652 in Fig.
                                  53A/53A-1; and equivalents        26; the switch 5308 and          26 the switch 5308 and
                                  thereof                           capacitor 5310 in Figs.          capacitor 5310 in Figs.
                                                                    53A/53A-1, and equivalents       53A/53A-1, and equivalents
                                                                    thereof”                         thereof.



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            Term                      Plaintiff’s Proposed            Defendants’ Proposed                 Special Master’s
                                           Construction                     Construction             Recommended Construction
#9: “first delaying means for     Subject to § 112, ¶ 6.           Subject to § 112, ¶ 6.            Subject to § 112, ¶ 6.
delaying said input sample”
                                  Function: delaying the input     Function: “delaying said input    Function: delaying said input
U.S. Patent No. 6,049,706,        sample of a down-converted       sample”                           sample
Claim 6                           image of said input signal
                                                                   Structure: “switch 2654 and       Structure: switch 2654 and
Proposed by TCL                   Structure: capacitor 2656 in     capacitor 2656 shown in Fig.      capacitor 2656 shown in Fig.
                                  Fig. 26 or capacitor 5310 in     26”                               26.
                                  Figs. 53A/53A1; and
                                  equivalents thereof

#10: “a frequency translator to   Not subject to 35 U.S.C.         Subject to 35 U.S.C.              Not subject to § 112, ¶ 6.
produce a sample of a down-       § 112, ¶ 6.                      § 112, ¶ 6.                       Plain-and-ordinary meaning.
converted image of an input
signal, and to delay said         Plain-and-ordinary meaning       Function:
sample”                                                            “produce a sample of a down-
                                                                   converted image of an input
U.S. Patent No. 6,049,706,                                         signal according to a control
Claim 34                                                           signal, and delay said sample”

Proposed by TCL                                                    Structure: “the down-convert
                                                                   and delay module 2624 in Fig.
                                                                   26 and described at 26:1–27:21
                                                                   and 28:20–41, that includes the
                                                                   switches 2650 and 2654, and
                                                                   the capacitors 2652 and 2656;
                                                                   and equivalents thereof”




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             Term                        Plaintiff’s Proposed          Defendants’ Proposed          Special Master’s
                                            Construction                    Construction      Recommended Construction
#11: “wherein said energy           Plain-and-ordinary meaning     Indefinite                 Not indefinite. Plain-and-
transfer signal generator in                                                                  ordinary meaning.
widening said apertures of said
pulses by a nonnegligible
amount that tends away from
zero time in duration to extend
the time that said switch is
closed for the purpose of
increasing energy transferred
from said input signal does so
at the expense of reproducing
said input signal, such that said
increased energy transferred
from said input signal when
said switch is closed in
response to said energy
transfer signal prevents
substantial voltage
reproduction of said input
signal”

U.S. Patent No. 6,049,706,
Claim 111

Proposed by TCL




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            Term                      Plaintiff’s Proposed          Defendants’ Proposed                   Special Master’s
                                         Construction                    Construction               Recommended Construction
#12: “establishing apertures”    Plain-and-ordinary meaning     Indefinite                          Not indefinite. Plain-and-
terms                                                                                               ordinary meaning.

U.S. Patent No. 6,049,706,
Claims 165, 107, 176, 187

Proposed by TCL

#13: “frequency down-            Plain-and-ordinary meaning     Subject to § 112, ¶ 6.              Not subject to § 112, ¶ 6.
conversion module”                                                                                  Plain-and-ordinary meaning.
                                                                Function: “to down-convert
U.S. Patent No. 7,110,444,                                      the input signal ... according to
Claims 2, 3                                                     a [] control signal and output[]
                                                                a [] down-converted signal.”
Proposed by TCL
                                                                Structure: an
                                                                “aliasing module 2000” (blue)
                                                                comprising at least one switch
                                                                and one capacitor (Figures
                                                                20A and 20A-1).

#14: “Under-Sample” /            “sampling at an aliasing       “sampling at less than or equal     “sampling at an aliasing rate”
“Under-Samples” / “Under-        rate” or “sampling at          to twice the frequency of the       or “sampling at less than or
Sampling”                        less than or equal to          input signal”                       equal to twice the frequency of
                                 twice the frequency of                                             the input signal”
U.S. Patent No., Cls. 1, 6, 7,   the input signal”
28; U.S. Patent No. 7,110,444,
Cl. 2

Proposed by ParkerVision


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             Term                   Plaintiff’s Proposed               Defendants’ Proposed                  Special Master’s
                                       Construction                         Construction              Recommended Construction
#15: “harmonic” / “harmonics” Harmonic: “A sinusoidal              Harmonic: “A sinusoidal           Plain-and-ordinary meanings:
                              component of a periodic wave         component of a periodic wave       Harmonic: “A sinusoidal
U.S. Patent No. 6,049,706,    that has a frequency that is an      that has a frequency that is an       component of a periodic
Claims 1, 6–7, 28, 34; U.S.   integer multiple of the              integer multiple of the               wave that has a frequency
Patent No. 6,266,518, Claim 1 fundamental frequency of the         fundamental frequency of the          that is an integer multiple
                              periodic waveform and                periodic wave”                        of the fundamental
Proposed by ParkerVision      including the fundamental                                                  frequency of the periodic
                              frequency as the first               Harmonics: “Sinusoidal                waveform and including
                              harmonic”                            components of a periodic              the fundamental frequency
                                                                   wave each of which have a             as the first harmonic”
                                  Harmonics: “A frequency or       frequency that is an integer       Harmonics: “A frequency
                                  tone that, when compared to its multiple of the fundamental            or tone that, when
                                  fundamental or reference         frequency of the periodic             compared to its
                                  frequency or tone, is an integer wave”                                 fundamental or reference
                                  multiple of it and including the                                       frequency or tone, is an
                                  fundamental frequency as the                                           integer multiple of it and
                                  first harmonic”                                                        including the fundamental
                                                                                                         frequency as the first
                                                                                                         harmonic”

#16: “integral filter/frequency   Plain-and-ordinary meaning       Plain-and-ordinary meaning        Plain-and-ordinary meaning
translator to filter and down-    wherein the plain-and-ordinary                                     wherein the plain-and-ordinary
convert an input signal”          meaning is “a circuit having a                                     meaning is “a circuit having a
                                  unified input filter and                                           unified input filter and
U.S. Patent No. 6,049,706,        frequency translator.”                                             frequency translator.”
Claim 28

Proposed by ParkerVision




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            Term                     Plaintiff’s Proposed             Defendants’ Proposed             Special Master’s
                                         Construction                     Construction          Recommended Construction
#17: “modulated signal” /      “an electromagnetic signal at a    Plain-and-ordinary meaning   Plain-and-ordinary meaning
“modulated carrier signal”     transmission frequency having                                   wherein the plain-and-ordinary
                               at least one characteristic that                                meaning is “an
U.S. Patent No. 6,049,706,     has been modulated by a                                         electromagnetic signal at a
Claim 127; U.S. Patent No.     baseband signal”                                                transmission frequency having
8,660,513, Claim 19; U.S.                                                                      at least one characteristic that
Patent No. 9,118,528, Claims                                                                   has been modulated by a
1, 5; U.S. Patent No.                                                                          baseband signal”
9,246,736, Claims 1, 11, 15;
U.S. Patent No. 9,444,673,
Claims 1, 2, 7, 13, 19

Proposed by ParkerVision

#18: “universal frequency      “circuitry that generates a        Plain-and-ordinary meaning   “circuitry that generates a
downconverter (UFD)”           down converted output signal                                    down converted output signal
                               from an input signal from a                                     from an input signal from a
U.S. Patent No. 6,266,518,     wide range of electromagnetic                                   wide range of electromagnetic
Claim 50                       frequencies”                                                    frequencies”

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            Term                     Plaintiff’s Proposed                Defendants’ Proposed                    Special Master’s
                                         Construction                         Construction                 Recommended Construction
#19: [wherein said storage      Plain-and-ordinary meaning           [wherein said storage elements       Plain-and-ordinary meaning
elements comprises] “a          wherein the “a capacitor” in         comprises] “a capacitor that         wherein the “a capacitor” in
capacitor that reduces a DC     each of the storage elements         reduces a DC offset voltage in       each of the storage elements
offset voltage in said first-   reduces a DC offset voltage in       both said first down-converted       reduces a DC offset voltage in
down converted signal and       the corresponding down-              signal and said second down-         the corresponding down-
said second down converted      converted signal                     converted signal                     converted signal.”
signal”

U.S. Patent No. 7,110,444,
Claim 4

Proposed by ParkerVision

#20: “DC offset voltage”        Plain-and-ordinary meaning           Plain-and-ordinary meaning           Plain-and-ordinary meaning
                                wherein the plain-and ordinary                                            wherein the plain-and-ordinary
U.S. Patent No. 7,110,444,      meaning is “the difference                                                meaning is “the difference
Claim 4                         between the DC voltage of a                                               between the DC voltage of a
                                signal and a reference voltage,                                           signal and a reference voltage,
Proposed by ParkerVision        e.g., ground”                                                             e.g., ground”

#21: “sampling aperture”        “a period of time during which       “a period of time during which       “a period of time during which
                                the switch is in its closed (i.e.,   the switch is in its closed (i.e.,   the switch is in its closed (i.e.,
U.S. Patent No. 8,660,513,      on) state”                           on) state as part of the process     on) state”
Claim 19; U.S. Patent No.                                            of reducing a continuous-time
9,118,528, Claim 1; U.S.                                             signal to a discrete-time
Patent No. 9,246,736, claims                                         signal”
1, 11; U.S. Patent No.
9,444,673, Claims 13, 17, 19

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            Term                       Plaintiff’s Proposed             Defendants’ Proposed            Special Master’s
                                           Construction                     Construction         Recommended Construction
#22: “switch” / “switching        Plain-and-ordinary meaning        Plain-and-ordinary meaning   Plain-and-ordinary meaning
device” / “switching module” /    wherein the plain-and-                                         wherein the plain-and-
“switch module”                   ordinary meaning is “an                                        ordinary meaning is “an
                                  electronic device for opening                                  electronic device for opening
U.S. Patent No. 6,049,706,        and closing a circuit as                                       and closing a circuit as
Claims 105, 107, 109, 111,        dictated by an independent                                     dictated by an independent
114, 115, 164, 165, 166, 168,     control input”                                                 control input”
175, 176, 179, 186, 187, 190;
U.S. Patent No. 6,266,518,
Claim 50; U.S. Patent No.
6,580,902, Claim 1; U.S.
Patent No. 7,110,444, Claim 3;
U.S. Patent No. 7,292,835,
Claims 18, 19, 20; U.S. Patent
No. 8,588,725, Claim 1; U.S.
Patent No. 8,660,513, Claim
19; U.S. Patent No. 9,118,528,
Claims 1, 5, 8, 17; U.S. Patent
No. 9,246,736,, claims 1, 11,
15, 21, 26, 27; U.S. Patent No.
9,444,673, Claims 1, 6, 7, 13,
17, 18

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            Term                     Plaintiff’s Proposed           Defendants’ Proposed             Special Master’s
                                         Construction                    Construction          Recommended Construction
#23: “a down-converted signal   “a lower frequency signal       “a down-converted signal      “a lower frequency signal
being generated from said       formed from sampled energy      being created from sampled    formed from sampled energy
sampled energy”                 transferred from the            energy stored in the energy   transferred from the
                                electromagnetic signal when     storage module”               electromagnetic signal when
U.S. Patent No. 6,580,902,      the switch module is closed                                   the switch module is closed
Claim 1                         and from sampled energy                                       and from sampled energy
                                discharged from the storage                                   discharged from the storage
Proposed by ParkerVision        module when the switch                                        module when the switch
                                module is open”                                               module is open”




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